        Case 1:20-cv-01566-TJK Document 1 Filed 06/15/20 Page 1 of 60




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


CITY OF CHICAGO
121 N. Lasalle St., Room 600
Chicago, IL 60602;

               Plaintiff,

       vs.                                     Case No.

ALEX M. AZAR, II, in his official capacity
   as Secretary of the United States
   Department of Health and Human
   Services,
200 Independence Ave. SW
Washington, DC 20201;

UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES
200 Independence Ave. SW
Washington, DC 20201;

SEEMA VERMA, in her official capacity as
   Administrator of the Centers for Medicare
   and Medicaid Services,
7500 Security Blvd.
Baltimore, MD 21244; and the

CENTERS FOR MEDICARE AND
MEDICAID SERVICES
7500 Security Blvd.
Baltimore, MD 21244,

               Defendants.




             COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
                 Case 1:20-cv-01566-TJK Document 1 Filed 06/15/20 Page 2 of 60




                                                       TABLE OF CONTENTS

Jurisdiction and Venue .................................................................................................................... 4
Parties .............................................................................................................................................. 4
Factual Allegations ......................................................................................................................... 6
           I.          The ACA requires Defendants to facilitate enrollment in ACA-compliant
                       coverage, including by providing an SEP in response to “exceptional
                       circumstances.” ....................................................................................................... 6
           II.         The novel coronavirus presents a serious, ongoing threat to Americans’ health.. 16
           III.        A special enrollment period is a necessary response to the pandemic. ................ 22
                                   Americans need access to affordable, high-quality coverage. .................. 22
                                   A special enrollment period would encourage individuals to seek
                                   coverage. ................................................................................................... 26
                                   There is a wide consensus behind an SEP. ............................................... 31
           IV.         Defendants unlawfully rejected a special enrollment period solely to avoid
                       “propping up” the Affordable Care Act. ............................................................... 35
           V.          Defendants have repeatedly attempted to sabotage the ACA. .............................. 38
                                   Defendants have promised to undermine the ACA. ................................. 39
                                   Defendants have taken actions designed to undermine the ACA. ............ 42
           VI.         Defendants’ unlawful decision harms Chicago. ................................................... 45
                                   Chicago’s health infrastructure ................................................................. 47
                                   Chicago’s response to the novel coronavirus............................................ 51
                                   Overall impact on the City ........................................................................ 54
Claims for Relief ........................................................................................................................... 56
           Count One (Violation of the Administrative Procedure Act – Contrary to Law,
                 5 U.S.C. § 706(2), the Patient Protection and Affordable Care Act,
                 42 U.S.C. § 18031, and its implementing regulations, 45 C.F.R. § 155.420) ...... 56
           Count Two (Violation of the Administrative Procedure Act – Arbitrary and Capricious,
                  5 U.S.C. § 706(2)) ................................................................................................. 56
           Count Three (Violation of the Administrative Procedure Act – Action Unlawfully
                 Withheld, 5 U.S.C. § 706(1)) ................................................................................ 57
Request for Relief ......................................................................................................................... 57




                                                                           i
          Case 1:20-cv-01566-TJK Document 1 Filed 06/15/20 Page 3 of 60




        Plaintiff the City of Chicago hereby sues Alex M. Azar, II, in his official capacity as

Secretary of the United States Department of Health and Human Services, the United States

Department of Health and Human Services (“HHS”), Seema Verma, in her official capacity as

Administrator of the Centers for Medicare and Medicaid Services, and the Centers for Medicare

and Medicaid Services (“CMS”), and alleges as follows:

                The world is facing a global pandemic the likes of which it has not seen in over a

century—the end of which is neither known nor in sight. As of the filing of this Complaint, over

two million people in the United States are confirmed to have contracted the novel coronavirus,1

and over 115,000 people are confirmed to have died from it.2 Americans are facing severe

disruptions to everyday life, from social distancing and school closures to furloughs, layoffs, and

collapsing businesses. As states reopen for business, and even with the best social distancing

practices in place, some experts believe that the virus may resurge, and that the world will likely

face a second wave of the pandemic in the fall or winter of 2020. Even optimistic projections

predict that life will not approach normal until a vaccine is developed and distributed sometime

in 2021 at the earliest.

                During these difficult times, Americans need the security and peace of mind that

affordable, high-quality health insurance coverage can offer. Congress enacted the Patient

Protection and Affordable Care Act (the “Affordable Care Act” or “ACA”) to provide that

coverage. The ACA allows Americans to purchase insurance on Exchanges established by states


1
    For ease of reference, this Complaint uses “the novel coronavirus” to refer collectively to
severe acute respiratory syndrome coronavirus 2 (SARS-CoV-2), as well as the disease it causes,
coronavirus disease 2019 (COVID-19). See Guidance on Preparing Workplaces for COVID-19,
U.S. Dep’ts of Labor & Health & Human Servs.,
https://www.osha.gov/Publications/OSHA3990.pdf (last visited June 14, 2020).
2
    Cases in the U.S., CDC, https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/cases-in-
us.html (last visited June 14, 2020).

                                                 1
          Case 1:20-cv-01566-TJK Document 1 Filed 06/15/20 Page 4 of 60




or by the federal government operating in their stead, during either an annual open enrollment or

during special enrollment periods (“SEPs”) required by the statute and its implementing

regulations.

               Among the various SEPs provided for by the ACA, an Exchange must provide an

SEP when consumers are facing “exceptional circumstances”—a broad and inclusive term that

certainly encompasses a once-in-a-century health crisis. Indeed, almost every state that runs its

own Exchange has reached precisely that conclusion, establishing an SEP so that all of their

residents can obtain access to ACA-compliant coverage. And the federal government itself has

provided for SEPs in the context of Medicare Part D and group health insurance.

               Yet the Trump Administration refused to provide a special enrollment period for

the marketplaces administered by the federal government. Recognizing the gravity of the

moment, Defendants initially decided to provide an SEP, and had even gone so far as to

communicate that decision to insurers. At the last minute, however, the President countermanded

that decision for fear of “propping up” the ACA3—an extraordinary about-face those close to the

Administration characterized as “purely ideological” and “political.”4 As President Trump has

made clear, time and again, he intends to undermine the ACA to the point that Congress is forced

to repeal it, or failing that, to effectively repeal it on his own through executive action and/or

malign neglect. To date, Defendants have offered no cogent explanation for their refusal to open

an SEP.



3
    Scott Bixby et al., Biden Tells Trump: Stop the ‘Pettiness’ and Reopen Obamacare, Daily
Beast (Apr. 3, 2020), https://www.thedailybeast.com/biden-tells-trump-stop-the-pettiness-and-
reopen-obamacare.
4
    Adam Cancryn et al., How Trump Surprised His Own Team by Ruling Out Obamacare,
Politico (Apr. 3, 2020), https://www.politico.com/news/2020/04/03/trump-obamacare-
coronavirus-164285 (quoting an Administration official).

                                                  2
          Case 1:20-cv-01566-TJK Document 1 Filed 06/15/20 Page 5 of 60




               Defendants’ refusal is unlawful. The term “exceptional circumstances” plainly

encompasses a global health crisis that has left millions of Americans in need of high-quality

health insurance and could not have been anticipated during open enrollment. Defendants’

conclusion to the contrary rests on an impermissible basis for action—the President’s desire to

sabotage a duly-enacted law. That desire offends the fundamental Constitutional principle that

the Executive Branch “shall take Care that the Laws be faithfully executed.” U.S. Const. art. II,

§ 3, cl. 5. Even leaving that aside, however, Defendants’ decision does not reflect the reasoned

decisionmaking required by the Administrative Procedure Act, or any attempt to grapple with

Americans’ desperate need for comprehensive health coverage.

               These violations are immensely consequential to Plaintiff the City of Chicago, not

to mention millions of Americans. Uninsured and underinsured Americans, including Americans

who have contracted the novel coronavirus, frequently do not seek necessary care until it is too

late. That is a risk the City cannot afford at a time when encouraging its residents to seek

adequate testing and treatment is essential to the City’s response to the pandemic. Chicago also

provides forms of health services to its residents regardless of insurance status, like ambulance

services and free- or reduced-cost health clinics. However, Chicago often cannot recoup the cost

of providing such services to uninsured individuals. That burden on the City has been

unnecessarily increased by Defendants’ decision to prevent Americans from enrolling in ACA-

compliant coverage—at a time when the City’s operations are already under extraordinary strain.

               For these reasons, and as described more fully below, the Court should declare

that Defendants’ decision not to provide a special enrollment period in response to the novel

coronavirus is unlawful, set that decision aside, and enjoin Defendants to provide a special

enrollment period.



                                                 3
            Case 1:20-cv-01566-TJK Document 1 Filed 06/15/20 Page 6 of 60




                                 JURISDICTION AND VENUE

               The Court has subject matter jurisdiction over this action under 28 U.S.C. § 1331

because this action arises under federal law.

               Venue is proper in this district under 28 U.S.C. § 1391(e), because Defendants are

officers and agencies of the United States and Defendants Alex M. Azar, II, and the United

States Department of Health and Human Services are located in Washington, D.C.

                                            PARTIES

               Plaintiff the City of Chicago is a municipal corporation and home-rule unit

organized and existing under the constitution and laws of the State of Illinois. See Illinois Const.

art. VII.

               Chicago, located in Cook County, is the largest city in Illinois and the third largest

city in the United States.

               According to 2019 Census estimates, Chicago has over 2.7 million residents. Of

those residents, 88%, or 2.38 million people, are under the age of 65. 6.9% of Chicago’s

population, or around 186,000 people, have a disability.

               2019 Census estimates for the proportion of Chicago’s population without health

insurance are unavailable. According to 2018 Census estimates, 11.9% of Chicago’s population

under the age of 65, or around 283,000 people, lack health insurance. That number has likely

risen steeply as a result of the pandemic, which has increased unemployment and thereby pushed

individuals off their employer-provided insurance. Those same estimates show that 19.5% of

Chicago’s population, or around 526,500 people, live in poverty.




                                                 4
          Case 1:20-cv-01566-TJK Document 1 Filed 06/15/20 Page 7 of 60




               The Bureau of Labor Statistics reports that, in February 2020, the Chicago-Joliet-

Naperville, Illinois metropolitan statistical area had 123,900 unemployed individuals.5

               As a result of the economic crisis caused by the novel coronavirus, the Chicago-

Joliet-Naperville area’s unemployment rate spiked to 640,300 in April 2020, an increase of

516,400, or roughly ~416%.6 More recent statistics are unavailable, but given national trends,

that rate has likely remained high.

               Similarly, while more recent uninsured rate statistics are unavailable, the

uninsured rate described above is now likely much higher, given that many individuals who have

lost their employment have also lost their employer-provided health insurance as a result.7

               As a major American city, Chicago provides a wide range of services on behalf of

its residents, including, as relevant here, health services, public assistance through human and

social services, and emergency medical care.

               Defendant Alex M. Azar, II, is sued in his official capacity as Secretary of the

United States Department of Health and Human Services.

               Defendant the United States Department of Health and Human Services (“HHS”)

is a federal agency headquartered in Washington, D.C., at 200 Independence Ave. SW,

Washington, DC, 20201.

               Defendant Seema Verma is sued in her official capacity as Administrator of the

Centers for Medicare and Medicaid Services.


5
    Economy at a Glance, Chicago-Joliet-Naperville, IL, U.S. Bureau of Labor Statistics,
https://www.bls.gov/eag/eag.il chicago md.htm (last visited June 14, 2020).
6
    Id.
7
    Selena Simmons-Duffin, Millions Of Americans Have Lost Health Insurance As
Unemployment Soars, NPR (May 24, 2020),
https://www.npr.org/2020/05/13/855096156/millions-of-americans-have-lost-health-insurance-
as-unemployment-soars.

                                                 5
          Case 1:20-cv-01566-TJK Document 1 Filed 06/15/20 Page 8 of 60




               Defendant the Centers for Medicare and Medicaid Services (“CMS”) is a

component of Defendant HHS and is headquartered in Baltimore, Maryland, at 7500 Security

Boulevard, Baltimore, MD, 21244.

                                 FACTUAL ALLEGATIONS

I.     The ACA requires Defendants to facilitate enrollment in ACA-compliant coverage,
       including by providing an SEP in response to “exceptional circumstances.”

               In 2010, Congress passed, and President Obama signed into law, the Patient

Protection and Affordable Care Act, Pub. L. No. 111-148, 124 Stat. 119 (2010), as amended,

Health Care Reconciliation Act of 2010, Pub. L. No. 111-152, 124 Stat. 1029 (2010).

               One of the primary objectives of the ACA is “to expand coverage in the

individual health insurance market.” King v. Burwell, 135 S. Ct. 2480, 2485 (2015); see also

Maine Cmty. Health Options v. United States, 140 S. Ct. 1308, 1315 (2020) (explaining that the

Act seeks “to improve national health-insurance markets and extend coverage to millions of

people without adequate (or any) health insurance”); Nat’l Fed’n of Indep. Bus. v. Sebelius, 567

U.S. 519, 538 (2012) (“The Act aims to increase the number of Americans covered by health

insurance and decrease the cost of health care.”); Doe #1 v. Trump, 957 F.3d 1050, 1063 (9th

Cir. 2020) (explaining that Congress aimed “[t]o incentivize the purchase of insurance plans

through ACA marketplaces”).

               In enacting the ACA, Congress concluded that high uninsured and underinsured

rates harm both individuals who lack adequate insurance and society. Specifically, Congress

found that the uninsured suffer from “poorer health and shorter lifespan”; that the “cost of

providing uncompensated care to the uninsured” is high; that “health care providers pass on the

cost to private insurers, which pass on the cost to families” by “increas[ing] family premiums”;

and that, because many “personal bankruptcies are caused in part by medical expenses,”


                                                 6
          Case 1:20-cv-01566-TJK Document 1 Filed 06/15/20 Page 9 of 60




“significantly increasing health insurance coverage … will improve financial security for

families.” 42 U.S.C. § 18091(2)(E)-(G).

               Prior to the enactment of the ACA, individual health insurance markets were

dysfunctional: “premiums for these policies were increasing more than 10% a year, on average,

while the policies themselves had major deficiencies,” including that they “often excluded pre-

existing conditions” and “charged higher premiums for people with health risks.”8

               As the Supreme Court has explained, many state efforts to reform the individual

health insurance market in the 1990s were unsuccessful. King, 135 S. Ct. at 2485-86. The ACA

“grew out of [this] long history of failed health insurance reform,” id. at 2485, and aims to

achieve systemic improvements in the individual health insurance market by means of certain

key reforms, including:

               a.      Nondiscrimination on the basis of health status and health history. The

                       ACA requires “each health insurance issuer that offers health insurance

                       coverage in the individual … market in a State [to] accept every …

                       individual in the State that applies for such coverage,” 42 U.S.C. § 300gg-

                       1(a), and bars insurers from charging higher premiums on the basis of a

                       person’s health, id. § 300gg.

               b.      Coverage for essential health benefits. Insurance for individuals and

                       families sold on ACA Exchanges must cover “essential health benefits,”

                       id. § 300gg-6(a), and so-called “cost-sharing” payments—for example,




8
    David Blumenthal & Sara Collins, Where Both the ACA and AHCA Fall Short, and What the
Health Insurance Market Really Needs, Harv. Bus. Rev. (Mar. 21, 2017),
https://hbr.org/2017/03/where-both-the-aca-and-ahca-fall-short-and-what-the-health-insurance-
market-really-needs.

                                                 7
         Case 1:20-cv-01566-TJK Document 1 Filed 06/15/20 Page 10 of 60




                       deductibles and copayments—for such coverage are limited, see id. §§

                       300gg-6(b), 18022(a)(2), (c).

               c.      Subsidized coverage. The ACA “seeks to make insurance more affordable

                       by giving refundable tax credits to individuals with household incomes

                       between 100 percent and 400 percent of the federal poverty line.” King,

                       135 S. Ct. at 2487 (citing 26 U.S.C. § 36B; 42 U.S.C. §§ 18081, 18082).

               To help individuals learn about and enroll in the health insurance options that are

available to them, the ACA “requires the creation of an ‘Exchange’ in each State where people

can shop for insurance, usually online.” King, 135 S. Ct. at 2487 (quoting 42 U.S.C.

§ 18031(b)(1)); Maine Cmty. Health Options, 140 S. Ct. at 1315 (explaining that the ACA

“called for the creation of virtual health-insurance markets, or ‘Health Benefit Exchanges,’ in

each State,” to serve the “end” of increased coverage).

               These Exchanges, also known as health insurance marketplaces, enable people not

eligible for Medicare or Medicaid to obtain adequate, affordable insurance independent of their

jobs. The Exchanges therefore serve as “marketplace[s] that allow[] people to compare and

purchase” ACA-compliant plans. King, 135 S. Ct. at 2485.

               An Exchange may be established by the state in which it operates or, in states that

have elected not to establish Exchanges, by the federal government. See id. at 2487 (citing 42

U.S.C. §§ 18031(b)(1), 18041(c)(1)); 45 C.F.R. § 155.105(f)).

               Twelve states and the District of Columbia operate “state-based exchanges” or

“SBEs” (operating their own websites rather than using the federally run HealthCare.gov), thirty-

two states rely principally on the federal government to run their “federally-facilitated

exchanges” or “FFEs” using HealthCare.gov, and six states have hybrid exchanges that assume



                                                 8
         Case 1:20-cv-01566-TJK Document 1 Filed 06/15/20 Page 11 of 60




some, but not all, Exchange functions.9 Illinois has a federally-facilitated Exchange, which, as is

relevant here, means that Illinois must defer to the federal government’s determinations

regarding enrollment periods, although Illinois does exercise some plan certification functions.10

               Exchanges may only offer quality health insurance plans, referred to as “qualified

health plans” or “QHPs” under the Act. 42 U.S.C. § 18031(b)(1), (c); see id. § 18021(a). Such

plans must cover preexisting conditions and essential health benefits and cannot impose annual

or lifetime-dollar limits on core coverage. See, e.g., id. §§ 300gg-3, -6, -11, 18022. Such

coverage improves access to care and overall health, and reduces financial burdens for both

individuals and institutions that cover the costs of uncompensated care.

               Individuals may enroll in qualified health plans on an Exchange during a specified

annual open enrollment period, typically at the end of the calendar year. Id. § 18031(c)(6). On

federal Exchanges, open enrollment for 2020 lasted from November 1 to December 18, 2019,

and open enrollment for 2021 is likely to have a similar range of dates.11 Typically, plans

selected during open enrollment start on January 1 of the next year.12

               In addition to open enrollment, the ACA mandates that “[t]he Secretary shall

require an Exchange to provide for ... (C) special enrollment periods specified in section 9801 of




9
    State Health Insurance Marketplace Types, 2020, Kaiser Family Foundation,
https://www.kff.org/health-reform/state-indicator/state-health-insurance-marketplace-types/.
10
    Id.; Louise Norris, Illinois Health Insurance Marketplace: History and News of the State’s
Exchange, HealthInsurance.org (Jan. 1, 2020), https://www.healthinsurance.org/illinois-state-
health-insurance-exchange/.
11
    When Is Open Enrollment for 2020?, Health Markets (Apr. 15, 2010),
https://www.healthmarkets.com/resources/health-insurance/open-enrollment/.
12
    FFE and Federally-Facilitated Small Business Health Options Program (FF-SHOP)
Enrollment Manual, CMS 14 (July 19, 2016),
https://www.cms.gov/CCIIO/Resources/Regulations-and-
Guidance/Downloads/ENR FFMSHOP Manual 080916.pdf.

                                                 9
         Case 1:20-cv-01566-TJK Document 1 Filed 06/15/20 Page 12 of 60




Title 26 and other special enrollment periods under circumstances similar to such periods under

part D of title XVIII of the Social Security Act.” Id. § 18031(c)(6) (emphasis added).

                Part D of title XVIII of the Social Security Act, colloquially known as Medicare

Part D, provides for prescription drug coverage. Among the established Medicare Part D that the

ACA incorporates is one for “exceptional circumstances,” defined as “such exceptional

conditions as the Secretary may provide.” 42 U.S.C. § 1395w-101(b)(3)(C); see also 42 C.F.R.

§ 423.38.

                Pursuant to that statutory mandate, CMS’s regulations require that an “Exchange

must provide special enrollment periods … during which qualified individuals may enroll in

QHPs and enrollees may change QHPs” when certain “triggering events” occur. 45 C.F.R.

§ 155.420(a)(1), (d) (emphasis added). And “the Exchange must allow a qualified individual or

enrollee, and when specified … , his or her dependent to enroll in a QHP if one of the triggering

events specified … occur.” Id. § 155.420(a)(3) (emphasis added).

                Generally, “a qualified individual or enrollee has 60 days from the date of a

triggering event to select a QHP.” Id. § 155.420(c)(1).

                Triggering events include circumstances such as an individual losing coverage, id.

§ 155.420(d)(1), gaining a dependent, id. § (2), enrolling unintentionally or erroneously, id. §§

(4), (12), experiencing changes in eligibility or access, id. §§ (3), (6), (7), or having a health

insurer that violated its contract, id. § (5). CMS recently created a special enrollment period to

promote access to so-called health reimbursement arrangements (employer-funded plans that

reimburse certain health care expenses). Id. § (14).13


13
    Katie Keith, Final Rule on Health Reimbursement Arrangements Could Shake Up Markets,
Health Affairs (June 14, 2019),
https://www.healthaffairs.org/do/10.1377/hblog20190614.388950/full/.

                                                  10
         Case 1:20-cv-01566-TJK Document 1 Filed 06/15/20 Page 13 of 60




               Another triggering event occurs if “[t]he qualified individual or enrollee, or his or

her dependent, demonstrates to the Exchange, in accordance with guidelines issued by HHS, that

the individual meets other exceptional circumstances as the Exchange may provide.” Id. § (9).

               CMS has explained that the “flexibility afforded under § 155.420(d)(9) allows the

Secretary to provide for additional special enrollment periods in the case of exceptional

circumstances, as determined appropriate, and HHS will continue to exercise that authority

through sub regulatory guidance.”14

               CMS has set forth guidelines for the type of “exceptional circumstances” that

warrant an SEP in sub-regulatory guidance, including in the FFE and Federally-Facilitated Small

Business Health Options Program (FF-SHOP) Enrollment Manual. This document identifies

general types of “exceptional circumstances” impacting a qualified individual (or his or her

dependent’s) enrollment in a QHP, including circumstances that are “the result of an unforeseen

event” or that “require[] that [an individual] obtain minimum essential coverage.”15 The

document does not address whether a pandemic or similarly catastrophic public health event

would qualify as an “exceptional circumstance.”

               CMS has emphasized that “exceptional circumstances” SEPs are essential for

consumers impacted by unpredictable events. As the agency explained:

       The exceptional circumstances special enrollment period provides an important
       avenue to coverage for consumers who experience or are affected by
       unanticipated events, often outside of their control. … [T]his special enrollment
       period should be granted as consistently as possible based on established criteria,




14
    Patient Protection and Affordable Care Act; HHS Notice of Benefit and Payment Parameters
for 2016, 80 Fed. Reg. 10,750, 10,798 (Feb. 27, 2015).
15
    FFE Manual at 100.

                                                11
         Case 1:20-cv-01566-TJK Document 1 Filed 06/15/20 Page 14 of 60




       while still allowing enough flexibility to account for the inherent unpredictability
       of exceptional circumstances.16

               CMS views the “exceptional circumstances” standard as a meaningful term for

which it can provide guidance and attempt to obtain standard outcomes for consumers. As it has

explained, “the vast majority of exceptional circumstances special enrollment periods granted

through the FFEs are reviewed in detail by HHS staff and evaluated based on standardized

protocols. We believe this process balances the need for standardization and flexibility while

ensuring that claims of exceptional circumstances can be verified.” Id.

               CMS has detailed many examples of “exceptional circumstances.” On its website,

for example, CMS lists circumstances where individuals suffer “[a]n unexpected hospitalization

or temporary cognitive disability, or were otherwise incapacitated,” or where “[a] natural

disaster, such as an earthquake, massive flooding, or hurricane,” prevents individuals from

enrolling.17 An “exceptional circumstance” can also include circumstances like if an individual

“was a victim of a house fire and was displaced during [open enrollment].”18

               CMS has also determined on multiple occasions that it has authority to issue

blanket SEPs for “exceptional circumstances” affecting a large class of people. For example, in

2017, it allowed all individuals who were unable to take advantage of other SEPs for which they




16
    Patient Protection and Affordable Care Act; Market Stabilization, 82 Fed. Reg. 18,346,
18,366 (Apr. 18, 2017) (emphasis added).
17
    Special Enrollment Periods for Complex Issues, HealthCare.gov,
https://www.healthcare.gov/sep-list/ (last visited June 14, 2020).
18
    Memorandum from Randy Pate, Director, Center for Consumer Information and Insurance
Oversight to All Federally-Facilitated Exchange, Qualified Health Plan, and Stand-Alone Dental
Plan Issuers (Aug. 9, 2018), https://www.cms.gov/CCIIO/Resources/Regulations-and-
Guidance/Downloads/8-9-natural-disaster-SEP.pdf.

                                                12
         Case 1:20-cv-01566-TJK Document 1 Filed 06/15/20 Page 15 of 60




would have qualified because of a hurricane to access a blanket SEP.19 Later, it allowed

individuals affected by an emergency or major disaster formally recognized by FEMA that

prevented them from enrolling to access an “exceptional circumstances” SEP.20 CMS has also

provided a blanket SEP for volunteers in Americorps and similar programs.21 And CMS has even

provided broad SEPs on an ad hoc basis in response to specific requests, such as when it gave an

“exceptional circumstances” SEP with retroactive coverage dates to a group of coal miners.22

               Similarly, when describing the Medicare Part D “exceptional circumstances”

standard, see 42 U.S.C. § 1395w-101(b)(3)(C), which the ACA treats as a model, 42 U.S.C.

§ 18031(c)(6), CMS has consistently expressed the view that the Secretary’s authority is

necessary to respond to unanticipated situations. For example, when finalizing the first Part D

regulations, CMS explained “We believe that the Secretary’s authority to establish SEPs for

exceptional circumstances should be reserved for situations that are not specifically




19
    Memorandum from Randy Pate, Director, Center for Consumer Information and Insurance
Oversight to All Federally-Facilitated Exchange, Qualified Health Plan, and Stand-Alone Dental
Plan Issuers (Sept. 28, 2017), https://www.cms.gov/CCIIO/Resources/Regulations-and-
Guidance/Downloads/2017-Hurricane-Disasters-Guidance.pdf.
20
    CMS Announces Additional Special Enrollment Periods to Help Individuals Impacted by
Hurricanes in Puerto Rico and the U.S. Virgin Islands, CMS (Jan. 17, 2018),
https://www.cms.gov/newsroom/press-releases/cms-announces-additional-special-enrollment-
periods-help-individuals-impacted-hurricanes-puerto-rico.
21
    Special Enrollment Periods and Hardship Exemptions for Persons Meeting Certain Criteria,
CMS (May 2, 2014), https://marketplace.cms.gov/technical-assistance-resources/5-6-14-
americorp-sepfinal.pdf.
22
    Greg Johnson, Former Blackjewel Workers Get Special Exemption from Health Marketplace,
Gillette News Record (Sept. 5, 2019),
https://www.gillettenewsrecord.com/news/local/article_df4c2e6b-6e6f-5f74-875a-
7a2417a944ed.html.

                                                13
         Case 1:20-cv-01566-TJK Document 1 Filed 06/15/20 Page 16 of 60




contemplated in the statute and that this authority should be exercised on a case-by-case basis

depending on the circumstances of a particular situation.”23

               In an ongoing rulemaking regarding Medicare Part D, CMS explained that

“[w]hile our experience with the [Medicare Advantage] program has informed the SEPs that we

have established to date, and are proposing to codify in this regulation, we are mindful that

exceptional circumstances may arise which may also warrant a SEP, and we note that this list is

not meant to be exhaustive.”24

               Further, CMS considers the best interest of the consumer in determining whether

a Medicare Part D SEP is warranted based on “exceptional circumstances”: it has “propose[d] to

retain the authority … to create SEPs for individuals who meet other exceptional conditions

established by CMS … SEPs established under this authority would be done on a case-by-case

basis and in situations which we determine it is in the best interest of the beneficiary to have an

enrollment (or disenrollment) opportunity.”25

               Coverage selected during an SEP can begin as early as the first day of the month

following enrollment, or can even be retroactive to a specific date, covering expenses incurred

prior to enrollment. 45 C.F.R. § 155.420(b).26 The regulations also provide that, for “exceptional

circumstances” SEPs, “the Exchange must ensure that coverage is effective on an appropriate

date based on the circumstances of the special enrollment period.” Id. § 155.420(b)(2)(iii).



23
   Medicare Program; Medicare Prescription Drug Benefit, 70 Fed. Reg. 4,194, 4,437 (Jan. 28,
2005).
24
   Medicare and Medicaid Programs; Contract Year 2021 and 2022 Policy and Technical
Changes to the Medicare Advantage Program, Medicare Prescription Drug Benefit Program,
Medicaid Program, Medicare Cost Plan Program, and Programs of All-Inclusive Care for the
Elderly, 85 Fed. Reg. 9,002, 9,120 (Feb. 18, 2020).
25
   Id.
26
   See also FFE Manual at 92.

                                                 14
         Case 1:20-cv-01566-TJK Document 1 Filed 06/15/20 Page 17 of 60




Indeed, the Manual provides that coverage effective dates for enrollment during an SEP will

“[v]ary based on circumstances,” and can be retroactive in nature.27 CMS has therefore reiterated

that, depending on the nature of the circumstances, “exceptional circumstances” SEPs may offer

retroactive coverage dates.28

               Finally, HHS also has special duties when facing a pandemic or comparable

health emergency. Specifically,

        If the Secretary determines, after consultation with such public health officials as
        may be necessary, that—
        (1) a disease or disorder presents a public health emergency; or
        (2) a public health emergency, including significant outbreaks of infectious
        diseases or bioterrorist attacks, otherwise exists,
        the Secretary may take such action as may be appropriate to respond to the public
        health emergency.

42 U.S.C. § 247d(a). In exercising that authority, the Secretary may also waive certain

statutory and regulatory requirements to ensure that health services are fully available to

the public. Id. § 1320b-5.

               Moreover, the HHS Secretary “shall … assist States and their political

subdivisions in the prevention and suppression of communicable diseases and with respect to

other public health matters.” Id. § 243(a). To that end, “[t]he Secretary is authorized to develop

(and may take such action as may be necessary to implement) a plan under which” HHS

resources “may be effectively used to control epidemics of any disease or condition and to meet

other health emergencies or problems.” Id. § 243(c)(1).




27
     Id. at 100, 129-30.
28
     2018 Pate Memorandum.

                                                 15
           Case 1:20-cv-01566-TJK Document 1 Filed 06/15/20 Page 18 of 60




II.    The novel coronavirus presents a serious, ongoing threat to Americans’ health.

               “Coronavirus disease 2019 (COVID-19) is a respiratory illness that can spread

from person to person.”29

               According to the CDC,

           You can become infected by coming into close contact (about 6 feet or two
            arm lengths) with a person who has COVID-19. COVID-19 is primarily
            spread from person to person.

           You can become infected from respiratory droplets when an infected person
            coughs, sneezes, or talks.

           You may also be able to get it by touching a surface or object that has the
            virus on it, and then by touching your mouth, nose, or eyes.30

               “People with COVID-19 have had a wide range of symptoms reported—ranging

from mild symptoms to severe illness,” including “fever or chills, cough, shortness of breath or

difficulty breathing, fatigue, muscle or body aches, headache, new loss of taste or smell, sore

throat, congestion or runny nose, nausea or vomiting, [and] diarrhea.”31

               Even those who recover from the novel coronavirus may nonetheless suffer

debilitating long-term health effects, including respiratory and heart issues.32

               According to the CDC, “older adults and people of any age who have serious

underlying medical conditions,” including chronic conditions like asthma, lung disease, heart




29
    What Law Enforcement Personnel Need to Know About Coronavirus Disease 2019 (COVID-
19), CDC (Mar. 14, 2020), https://www.cdc.gov/coronavirus/2019-ncov/community/guidance-
law-enforcement.html.
30
    What You Should Know About COVID-19 to Protect Yourself and Others), CDC (Apr. 15,
2020), https://www.cdc.gov/coronavirus/2019-ncov/downloads/2019-ncov-factsheet.pdf.
31
    Symptoms of Coronavirus, CDC, https://www.cdc.gov/coronavirus/2019-ncov/symptoms-
testing/symptoms.html (last updated May 13, 2020).
32
    Erin Schumaker, What We Know About Coronavirus’ Long-Term Effects, ABC News (Apr.
17, 2020), https://abcnews.go.com/Health/coronavirus-long-term-effects/story?id=69811566.

                                                 16
         Case 1:20-cv-01566-TJK Document 1 Filed 06/15/20 Page 19 of 60




conditions, immune compromising conditions, obesity, diabetes, kidney disease, and liver

disease, “might be at higher risk for severe illness from COVID-19.”33

               The novel coronavirus likely burdens racial and ethnic minorities

disproportionately.34 The CDC has observed an “overrepresentation of blacks among

hospitalized patients” and data that suggests a “death rate … substantially higher” for African

American and Latino persons than for others.35

               Moreover, the CDC has instructed individuals to “[f]ollow care instructions from

your healthcare provider and local health department,” and to “seek emergency medical care

immediately” if they observe any “emergency warning signs,” like trouble breathing.36

               “There is currently no vaccine to prevent coronavirus disease 2019,”37 nor have

any “drugs or other therapeutics [been] approved by the U.S. Food and Drug Administration

(FDA) to prevent or treat COVID-19.”38

               The current outbreak of the novel coronavirus is expected to last for at least

several months, and potentially years. Experts forecast several possible scenarios, but often

conclude that, even with the best precautions in place, “we must be prepared for at least another


33
    People Who Are At Higher Risk for Severe Illness, CDC,
https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-at-higher-risk.html
(last updated May 14, 2020).
34
     COVID-19 in Racial and Ethnic Minority Groups, CDC,
https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/racial-ethnic-
minorities.html (last updated June 4, 2020).
35
     Id.
36
    What to Do If You Are Sick, CDC, https://www.cdc.gov/coronavirus/2019-ncov/if-you-are-
sick/steps-when-sick.html (last updated May 8, 2020).
37
    How to Protect Yourself & Others, CDC, https://www.cdc.gov/coronavirus/2019-
ncov/prevent-getting-sick/prevention.html (last updated April 24, 2020).
38
    Information for Clinicians on Investigational Therapeutic for Patients with COVID-19, CDC,
https://www.cdc.gov/coronavirus/2019-ncov/hcp/therapeutic-options.html (last updated Apr. 25,
2020).

                                                 17
         Case 1:20-cv-01566-TJK Document 1 Filed 06/15/20 Page 20 of 60




18 to 24 months of significant COVID-19 activity, with hot spots popping up periodically in

diverse geographic areas.”39 Among these scenarios is the possibility that the current first wave

of the virus is followed by a larger wave in the fall or winter of 2020.40

               Some experts had projected that numbers of novel coronavirus infections and

deaths may increase as states reopen their economies.41 Early data suggests that such fears may

be true as several states have seen a sharp uptick in cases in recent days.42

               Models have projected that tens or even hundreds of millions of people in the

United States could eventually be infected with the novel coronavirus, with well upwards of

100,000 deaths, or as many as 1.5 million in the worst projections.43 Very recently, the Director




39
    Kristine A. Moore et al., COVID-19: The CIDRAP Viewpoint, Part 1: The Future of the
COVID-19 Pandemic: Lessons Learned from Pandemic Influenza, Ctr. for Infectious Disease
Res. and Pol’y 6 (April 30, 2020),
https://www.cidrap.umn.edu/sites/default/files/public/downloads/cidrap-covid19-viewpoint-
part1_0.pdf; see also COVID-19 Is Here. Now How Long Will It Last?, Yale Sch. of Med. (Mar.
27, 2020), https://medicine.yale.edu/news-article/23446/ (“[W]e may get into a cycle of periodic
social distancing measures until it is possible to develop and mass-produce a vaccine, which
experts say will take 12-18 months, or we can find effective ways to treat COVID-19.”).
40
    COVID-19: The CIDRAP Viewpoint; see also Alexis Keenan, COVID-19 Could Make a
Resurgence this Fall Depending on US Response, Infectious Disease Specialist, Yahoo Finance
(Mar. 20, 2020), https://finance.yahoo.com/news/covid-19-could-make-a-us-resurgence-this-fall-
depending-on-national-response-122231894.html.
41
     Models Project Sharp Rise in Deaths as States Reopen, N.Y. Times,
https://www.nytimes.com/2020/05/04/us/coronavirus-live-updates.html (last updated May 15,
2020).
42
     Emma Court & David R. Baker, Second U.S. Virus Wave Emerges as Cases Top 2 Million,
Bloomberg (June 10, 2020), https://www.bloomberg.com/news/articles/2020-06-10/second-u-s-
virus-wave-emerges-after-state-reopenings.
43
    Id.; Jesse Yomtov, US Now Has More Coronavirus Deaths than Any Other Country, but the
Worst of Epidemic May Not Be Far Off, USA Today (Apr. 11, 2020),
https://www.usatoday.com/story/news/health/2020/04/11/coronavirus-us-more-covid-19-deaths-
than-italy-any-country/5121962002/.

                                                 18
         Case 1:20-cv-01566-TJK Document 1 Filed 06/15/20 Page 21 of 60




of the Harvard Global Health Institute said that the United States may reach 200,000 deaths from

the novel coronavirus in September, with a hoped-for vaccine still many months off.44

               As of June 15, there were over 7.8 million confirmed or probable cases of the

novel coronavirus across the world, with 430,000 confirmed or probable deaths.45 In the United

States, there were over two million confirmed cases, with over 115,000 confirmed deaths.46

               On March 13, 2020, President Trump declared that “the COVID-19 outbreak in

the United States constitutes a national emergency,” and conferred authority to the HHS

Secretary to waive or modify certain statutory and regulatory requirements.47

               The novel coronavirus pandemic has had a dramatic effect on daily life in the

United States and around the world. The White House and the CDC have repeatedly issued

guidance instructing Americans to “[w]ork or engage in schooling FROM HOME whenever

possible,” to “AVOID SOCIAL GATHERINGS in groups of more than 10 people,” to “[a]void

eating or drinking at bars, restaurants, and food courts,” to “AVOID DISCRETIONARY

TRAVEL, shopping trips, and social visits,” and to “NOT VISIT nursing homes or retirement

or long-term care facilities unless to provide critical assistance.”48




44
    Maura Hohman, Coronavirus Deaths Could Reach 200,000 by Early Fall, Harvard Doctor
Warns, Today (June 11, 2020), https://www.today.com/health/us-coronavirus-deaths-could-
reach-200-000-september-harvard-doctor-t183984.
45
    Cases in the US.
46
    Coronavirus Map: Tracking the Global Outbreak, N.Y. Times,
https://www.nytimes.com/interactive/2020/world/coronavirus-maps.html (last updated June 15,
2020).
47
    Proclamation 9994, Declaring a National Emergency Concerning the Novel Coronavirus
Disease (COVID-19) Outbreak, 85 Fed. Reg. 15,337, 15,337 (Mar. 13, 2020).
48
    30 Days to Slow the Spread, White House & CDC, https://www.whitehouse.gov/wp-
content/uploads/2020/03/03.16.20_coronavirus-guidance_8.5x11_315PM.pdf (last visited June
14, 2020).

                                                  19
         Case 1:20-cv-01566-TJK Document 1 Filed 06/15/20 Page 22 of 60




               State and local governments have responded by issuing stay-at-home or shelter-

in-place orders that require residents to suspend all non-essential travel and business for periods

of weeks or months. As a result, “at least 316 million people in at least 42 states, three counties,

ten cities, the District of Columbia and Puerto Rico [have been] urged to stay home.”49

               States and local governments have also ordered the closures of schools,50 courts,51

and administrative offices and service centers,52 and have even postponed certain elections.53

Similarly, many federal courts54 and agencies55 have adjusted their operations in response to the

pandemic.



49
    See Which States and Cities Have Told Residents to Stay at Home, N.Y. Times,
https://www.nytimes.com/interactive/2020/us/coronavirus-stay-at-home-order.html (last updated
Apr. 20, 2020)
50
    Map: Coronavirus and School Closures, Ed. Week,
https://www.edweek.org/ew/section/multimedia/map-coronavirus-and-school-closures.html (last
updated May 15, 2020).
51
    State Court Closures in Response to the Coronavirus (COVID-19) Pandemic, 2020,
Ballotpedia,
https://ballotpedia.org/State_court_closures_in_response_to_the_coronavirus_(COVID-
19)_pandemic,_2020 (last visited June 14, 2020).
52
    Alan Greenblatt, What Government Functions — Other Than Schools — Are Starting to
Close?, Governing (Mar. 16, 2020), https://www.governing.com/now/What-Government-
Functions-Other-Than-Schools-Are-Starting-to-Close.html.
53
    Nick Corasaniti & Stephanie Saul, 16 States Have Postponed Primaries During Coronavirus.
Here’s a List., N.Y. Times, https://www.nytimes.com/article/2020-campaign-primary-calendar-
coronavirus.html (last updated May 27, 2020).
54
    U.S. Court Closings, Cancellations and Restrictions Due to COVID-19, Paul Hastings,
https://www.paulhastings.com/about-us/advice-for-businesses-in-dealing-with-the-expanding-
coronavirus-events/u.s.-court-closings-cancellations-and-restrictions-due-to-covid-19 (last
updated June 12, 2020).
55
    Lisa Rein & Kimberly Kindy, IRS and Social Security Close Field Offices Across the
Country as Some Federal Services Start Shrinking in Response to the Coronavirus, Wash. Post
(Mar. 17, 2020), https://www.washingtonpost.com/politics/irs-and-social-security-close-field-
offices-across-the-country-as-federal-services-start-contracting-to-contain-the-
coronovirus/2020/03/17/b612958e-6864-11ea-9923-57073adce27c_story.html; see also
Operating Status, U.S. Off. of Personnel Mgmt., https://www.opm.gov/policy-data-
oversight/snow-dismissal-procedures/current-status/ (last updated May 7, 2020).

                                                 20
         Case 1:20-cv-01566-TJK Document 1 Filed 06/15/20 Page 23 of 60




               Because of the pandemic, “U.S GDP is collapsing as we enter what is expected to

be the worst economic contraction since the Great Depression. Goldman Sachs and Morgan

Stanley project second-quarter GDP will fall by 34% and 38% respectively.”56 And the Federal

Reserve has explained that the pandemic has “induced sharp declines in economic activity and a

surge in job losses,” and projected that the crisis “poses considerable risks to the economic

outlook over the medium term.”57

               Unemployment rose to over 30 million people in April 2020, and remains high.58

In the twelve weeks since the pandemic took hold in mid-March, more than 44 million people in

the United States have applied for unemployment benefits, about 29 percent of the workforce.59

               The economic collapse is causing immense suffering. For example, recent

research shows “a rise in food insecurity without modern precedent,” with nearly 1 in 5 children

in the U.S. now not getting enough to eat.60

               Beginning in May, some state and local governments began taking steps to reopen

their economies, which some experts warn may increase the spread of the novel coronavirus




56
    Mike Patton, Coronavirus Response Brings Economic Hardship: How Will Stocks React?,
Forbes (Apr. 6, 2020), https://www.forbes.com/sites/mikepatton/2020/04/06/covid-19-response-
brings-economic-hardship-how-will-stocks-react/#31ed7745ae5b.
57
    Federal Reserve Issues FOMC Statement, Fed. Reserve (June 10, 2020),
https://www.federalreserve.gov/newsevents/pressreleases/monetary20200610a.htm.
58
    April’s Job Losses Show Many Workers Are Still Connected to Their Employers, Council of
Econ. Advisors (May 8, 2020), https://www.whitehouse.gov/articles/aprils-job-losses-show-
many-workers-still-connected-employers/.
59
    Eli Rosenberg, Another 1.5 Million Workers Filed for Unemployment Insurance, Wash. Post
(June 11, 2020), https://www.washingtonpost.com/business/2020/06/11/unemployment-claims-
coronavirus/.
60
    Nearly 1 in 5 Young Children in the U.S. Don’t Get Enough to Eat, Research Found, N.Y.
Times (May 6, 2020) https://www.nytimes.com/2020/05/06/us/coronavirus-updates.html#link-
ba9024b.

                                                21
         Case 1:20-cv-01566-TJK Document 1 Filed 06/15/20 Page 24 of 60




even with the best precautions in place.61 Whether and when America will be able to fully reopen

largely depends on when particular states meet a complicated set of gating criteria based on

specific epidemiological thresholds.

III.   A special enrollment period is a necessary response to the pandemic.

                 To reduce the spread and the impact of the novel coronavirus pandemic, it is

essential that individuals be able to access testing and treatment without any concerns as to

availability or cost.62 That concern weighs in favor of expanding access to affordable, high-

quality health insurance as quickly as possible through a special enrollment period available to

all Americans who lack coverage.

                 Americans need access to affordable, high-quality coverage.

                 Before the novel coronavirus, there were approximately 27.9 million uninsured

and 44 million underinsured people in the United States.63 At that time, Gallup data indicated

that the number of uninsured had increased by 7 million since President Trump was

inaugurated.64




61
    Models Project Sharp Rise.
62
    See, e.g., Justin Fox, Testing Is the Key to Getting Coronavirus Under Control, Bloomberg
(Mar. 6, 2020), https://www.bloomberg.com/opinion/articles/2020-03-06/coronavirus-testing-is-
the-key-to-countering-outbreak-of-covid-19 (“Widespread testing changes the equation by
allowing public health authorities to identify and isolate people with the disease even if they
don’t have any symptoms yet.”).
63
    Alison Griswold, The Cost of American Health Care Could Help Coronavirus Spread in the
US, Quartz (Feb. 28, 2020), https://qz.com/1809382/us-health-care-costs-could-help-
coronavirus-spread/.
64
    Sarah Kliff, Under Trump, the Number of Uninsured Americans Has Gone Up by 7 Million,
Vox (Jan. 23, 2019), https://www.vox.com/2019/1/23/18194228/trump-uninsured-rate-
obamacare-medicaid.

                                                 22
         Case 1:20-cv-01566-TJK Document 1 Filed 06/15/20 Page 25 of 60




               Those numbers have risen sharply since the pandemic began. The Kaiser Family

Foundation estimates that nearly 27 million people have lost their employer-provided health

insurance as a consequence of losing their jobs since the beginning of the pandemic.65

               As the Kaiser Family Foundation has explained, the “uninsured are likely to face

significant barriers to testing for COVID-19 and any care they may need should they contract the

virus.” Uninsured and underinsured individuals are generally less likely to seek care, in part

because they may lack a usual healthcare provider and because they fear the out-of-pocket cost

of accessing medical treatment. “In the context of a public health emergency, decisions to forego

care because of costs can have devastating consequences.”66 Others may be unable to obtain care

at all, like a 17-year-old boy in Los Angeles who died from complications of the novel

coronavirus after he was denied treatment at an urgent care center.67

               Seeking treatment for the novel coronavirus can be costly for the uninsured and

underinsured. For example, one woman who tested positive and required a hospital stay received

a bill for $34,927.43.68 The average cost of hospital treatment can average from $20,000-

$40,000.69 And while Congress has taken action to attempt to make testing free, there is some



65
    Rachel Garfield et al., Eligibility for ACA Health Coverage Following Job Loss, Kaiser
Family Found. (May 13, 2020), https://www.kff.org/coronavirus-covid-19/issue-brief/eligibility-
for-aca-health-coverage-following-job-loss/.
66
    Jennifer Tolbert, What Issues Will Uninsured People Face with Testing and Treatment for
COVID-19?, Kaiser Family Found. (Mar. 16, 2020), https://www.kff.org/uninsured/fact-
sheet/what-issues-will-uninsured-people-face-with-testing-and-treatment-for-covid-19/.
67
    Matt Novak, Teen Who Died of Covid-19 Was Denied Treatment Because He Didn’t Have
Health Insurance, Gizmodo (Mar. 27, 2020), https://gizmodo.com/teen-who-died-of-covid-19-
was-denied-treatment-because-1842520539.
68
    Abigail Abrams, Total Cost of Her COVID-19 Treatment: $34,927.43, Time (Mar. 19, 2020),
https://time.com/5806312/coronavirus-treatment-cost/.
69
    Jacqueline Stenson, Obamacare’s Health Care Protections Face First True Test in
Coronavirus Crisis, NBC News (Apr. 5, 2020), https://www.nbcnews.com/health/health-
news/obamacare-s-health-care-protections-face-first-true-test-coronavirus-n1176231.

                                                23
          Case 1:20-cv-01566-TJK Document 1 Filed 06/15/20 Page 26 of 60




chance that uninsured and underinsured individuals may still be charged for testing, particularly

for serological or antibody-based testing, or for testing-related expenses (like doctor visits or

hospital stays).70

                Uninsured and underinsured individuals also face some of the highest risks from

the novel coronavirus. “Many uninsured adults work in jobs that may increase their risk of

exposure to COVID-19.”71 And “data analysis finds that nearly six million adults who are at

higher risk of getting a serious illness if they become infected with coronavirus are uninsured.”72

Ultimately, as many as 2 million uninsured individuals could eventually be hospitalized with the

novel coronavirus.73

                The United States’s high uninsured rate is contributing to the spread of the

pandemic nationwide. “Americans face higher out-of-pocket costs for their medical care than

citizens of almost any other country, and research shows people forgo care they need, including

for serious conditions, because of the cost barriers.”74 As a result, early numbers suggest that

“[c]ountries with universal health care are testing more people and seem to be faring better with

Covid-19 death rates than the United States.”75


70
    See Abigail Abrams, COVID-19 Testing Is Supposed to Be Free. Here’s Why You Might Still
Get Billed, Time (Mar. 20, 2020), https://time.com/5806724/coronavirus-testing-costs/; Michael
Liu & Joy Jin, Coverage of COVID-19 Serology Testing Must Include the Uninsured, Health
Affairs (Apr. 26, 2020), https://www.healthaffairs.org/do/10.1377/hblog20200424.409047/full/.
71
    What Issues Will Uninsured People Face.
72
    Id.
73
    Analysis Estimates Up To 2 Million Uninsured People Could Require COVID-19
Hospitalization, Kaiser Family Found. (Apr. 7, 2020), https://www.kff.org/uninsured/press-
release/analysis-estimates-up-to-2-million-uninsured-people-could-require-covid-19-
hospitalization/.
74
    Dylan Scott, Coronavirus Is Exposing All of the Weaknesses in the US Health System, Vox
(Mar. 16, 2020), https://www.vox.com/policy-and-politics/2020/3/16/21173766/coronavirus-
covid-19-us-cases-health-care-system.
75
    Id.

                                                  24
         Case 1:20-cv-01566-TJK Document 1 Filed 06/15/20 Page 27 of 60




               The Trump Administration’s existing coronavirus-related measures are wholly

inadequate to redress the effects of the coverage gap. Although the Administration has agreed to

legislation eliminating insurance cost-sharing payments for testing, that of course only benefits

individuals who already have insurance.

               Similarly, although the Administration plans to reimburse hospitals for the costs

of providing novel coronavirus-related treatment from the $100 billion fund authorized by

Congress in the Coronavirus Aid, Relief, and Economic Security (“CARES”) Act, that does not

relieve many of the burdens on the uninsured and underinsured. Among other things, “uninsured

patients could still be on the hook if they test negative for coronavirus.”76 At least as important,

even patients who test positive have no guarantee that they will be covered if they receive

treatment outside the hospital, which may be the most cost-effective and safest way of receiving

care; for necessary follow-on treatment, including, for example, rehabilitative or mental health

care; or for conditions that exacerbate the risks of the novel coronavirus.77 More broadly, there is

concern that simply reimbursing hospitals for providing care fails to provide adequate “peace of

mind” to the consumer that they will not be billed, unlike ACA-compliant insurance, which

provides a guarantee that all essential treatment will be covered.78

               Providers themselves also face shortfalls. They can receive reimbursement only at

Medicare rates, and are prohibited from billing consumers for the balance.79 Even so, the Kaiser



76
    Sara Hansard, Treating Uninsured Could Soak Up 40% of Hospital Virus Fund, Bloomberg
Law (Apr. 7, 2020), https://news.bloomberglaw.com/health-law-and-business/treating-
uninsured-could-soak-up-40-of-hospital-virus-fund.
77
    Christen Linke Young et al., Responding To COVID-19: Using the CARES Act’s Hospital
Fund to Help The Uninsured, Achieve Other Goals, Health Affairs (Apr. 11, 2020),
https://www.healthaffairs.org/do/10.1377/hblog20200409.207680/full/.
78
    Treating Uninsured Could Soak Up 40% of Hospital Virus Fund.
79
    Responding To COVID-19.

                                                 25
         Case 1:20-cv-01566-TJK Document 1 Filed 06/15/20 Page 28 of 60




Family Foundation estimates that reimbursing hospitals for such costs could consume as much as

$41.8 billion of the fund, which has to cover all provider-related costs.80 Thus, the American

Enterprise Institute has suggested that “even this substantial sum is unlikely to be enough to

cover the costs of the uninsured and the other expenses hospitals and other providers will incur

as they scale up capacity to handle the coming surge of patients.”81 Moreover, as the President

and CEO of the American Hospital Association has explained, hospitals are under extraordinary

financial strain, “given that virtually all regular operations have come to a halt.”82

               In sum, the Administration’s existing measures are inadequate to meet the scale of

the threat posed by the novel coronavirus pandemic.

               A special enrollment period would encourage individuals to seek coverage.

               An SEP would redress these concerns by providing uninsured and underinsured

individuals with an easy, quick, and subsidized method of obtaining health insurance.

               Twelve of the thirteen state-based marketplaces have announced special

enrollment periods in response to the novel coronavirus.83 In opening these SEPs, multiple states

referred to the pandemic as an “exceptional circumstance” or generally as an “emergency.”84 The


80
    Treating Uninsured Could Soak Up 40% of Hospital Virus Fund.
81
    Joseph Antos & James C. Capretta, Blocking Open Enrollment for ACA Insurance Is Another
Pandemic Mistake, Am. Enter. Inst. (Apr. 2, 2020), https://www.aei.org/health-policy/blocking-
open-enrollment-for-aca-insurance-is-another-pandemic-mistake/.
82
    Rick Pollack, President and CEO, Am. Hosp. Ass’n, AHA Statement on the Use of the
CARES Act, Am. Hosp. Ass’n (Apr. 3, 2020), https://www.aha.org/press-releases/2020-04-03-
aha-statement-use-cares-act.
83
    See Katie Keith, CMS Could Do More in Light of the Coronavirus Crisis, Health Affairs
(Mar. 25, 2020), https://www.healthaffairs.org/do/10.1377/hblog20200325.501048/full/; Louise
Norris, Exceptional Circumstances for Special Enrollment, HealthInsurance.org (Apr. 28, 2020),
https://www.healthinsurance.org/special-enrollment-guide/exceptional-circumstances-for-
special-enrollment/.
84
    See, e.g., Office of the Governor, Governor Lamont Provides Update on Connecticut’s
Coronavirus Response Efforts, HamletHub (Apr. 5, 2020),


                                                  26
         Case 1:20-cv-01566-TJK Document 1 Filed 06/15/20 Page 29 of 60




exception is Idaho, which is sparsely populated and has relatively few cases of the novel

coronavirus.85

                 At least 60,000 people have already enrolled in health insurance via the

coronavirus-related SEPs offered by seven of those Exchanges, as opposed to SEPs offered for

qualifying life events, with roughly 237,000 enrollees projected over a 60-day period.86

                 If Defendants provide an SEP for the 38 federally-facilitated and hybrid

Exchanges, one analysis suggests that as many as 1.8 million individuals might seek to enroll.87

Another suggests that marketplace enrollment might rise by as many as 2 million individuals on

net, which likely represents a much higher number of new enrollees as prior enrollees leave the

Exchanges and go on Medicaid.88 These estimates are consistent with the massive increase in

calls by consumers seeking assistance with enrollment, many of whom cannot enroll because




https://news.hamlethub.com/newfairfield/events/todays-events/47538-governor-lamont-provides-
update-on-connecticut-s-coronavirus-response-efforts (Connecticut); Coronavirus Emergency
Extends Special Enrollment Period Until June 15, Md. Health Connection,
https://www.marylandhealthconnection.gov/coronavirus-sep/ (last visited June 14, 2020)
(Maryland); Silver State Health Insurance Announces Exceptional Circumstance Enrollment
Period, NBC News 4 (Mar. 17, 2020), https://mynews4.com/news/local/silver-state-health-
insurance-announces-exceptional-circumstance-enrollment-period (Nevada); Special Enrollment
Period (SEP) Available to Purchase Coverage Through Healthsource RI as a Part of the State’s
Response to COVID-19, What’s Up Rhode Island (Mar. 15, 2020),
https://whatsupnewp.com/2020/03/special-enrollment-period-sep-available-to-purchase-
coverage-through-healthsource-ri-as-a-part-of-the-states-response-to-covid-19/ (Rhode Island);
State Health Exchange Offers Special Enrollment Period Due to Virus, KomoNews (Mar. 11,
2020), https://komonews.com/news/coronavirus/state-health-exchange-offers-special-
enrollment-period-due-to-virus (Washington).
85
    Cases in the US.
86
    See Charles Gaba, UPDATE: 1.8 - 2.4 Million More Americans Would Likely #GetCovered if
HealthCare.Gov Launched #COVID19 SEP, ACASignups.net (Apr. 14, 2020),
http://acasignups.net/20/04/14/exclusive-least-600k-18-million-more-americans-would-likely-
getcovered-if-healthcaregov.
87
    See id.
88
    See COVID-19 Impact.

                                                 27
         Case 1:20-cv-01566-TJK Document 1 Filed 06/15/20 Page 30 of 60




they do not have access to an SEP.89 Even less robust enrollment, however, would extend

coverage to hundreds of thousands of individuals.

               The Urban Institute has also found that a nationwide special enrollment period

“could significantly increase health insurance coverage and reduce financial burdens” on

workers in vulnerable industries who were uninsured before the pandemic.90

               Thus, providing an SEP would significantly increase the proportion of Americans

who seek testing and treatment in response to the novel coronavirus, as well as for health

conditions more broadly.

               Providing access to coverage would also substantially alleviate the financial

strains facing families, many of whom may have lost jobs or sources of revenue, by offering

them access to high-quality, cost-effective health insurance.

               Existing special enrollment periods for circumstances like losing job-related

insurance coverage are inadequate. Such periods do not cover sizable groups of uninsured

individuals, including individuals who never had insurance coverage as part of their

employment; individuals who had atypical employment circumstances, like “freelancers or part-

time employees who have had sources of income disappear,” but did not lose job-related




89
    See Lydia Wheeler, Newly Unemployed Scramble to Enroll in Obamacare in Time,
Bloomberg Law (Apr. 10, 2020), https://news.bloomberglaw.com/health-law-and-
business/newly-unemployed-scramble-to-enroll-in-obamacare-in-time.
90
    Linda J. Blumberg et al., Potential Eligibility for Medicaid, CHIP, and Marketplace
Subsidies Among Workers Losing Jobs in Industries Vulnerable to High Levels of COVID-19-
Related Unemployment, Urban Inst. (Apr. 24,2020),
https://www.urban.org/research/publication/potential-eligibility-medicaid-chip-and-marketplace-
subsidies-among-workers-losing-jobs-industries-vulnerable-high-levels-covid-19-related-
unemployment; see also id. at 2 (estimating that “2 million additional people are ineligible” to
access the Exchanges because of the lack of a special enrollment period in their states).

                                                28
         Case 1:20-cv-01566-TJK Document 1 Filed 06/15/20 Page 31 of 60




insurance coverage;91 or individuals who simply wish to obtain insurance coverage in response

to a once-in-a-generation pandemic, whether or not they had it before. Making matters worse,

there is substantial overlap between industries most impacted by coronavirus-related job losses

and industries with high rates of uninsured or underinsured individuals.92

               Even for individuals who lost insurance coverage as a result of losing their job, a

categorical SEP is necessary. “Several studies suggest that the SEP reserved for workers who

lose [insurance] has failed to reach most of its intended target population.”93 That is in part

because the process of applying for an SEP is time-consuming and requires the submission of

documentation, which may be challenging to assemble amidst the pandemic.94 Moreover,

“announcing an emergency SEP would help raise awareness of the availability of coverage

through HealthCare.gov among important groups, including for those who might already be

eligible for an SEP but unaware of their options.”95 It would also encourage healthy individuals

to enroll, knowing that the enrollment process will be simpler and easier.

               There is also no good reason to lock people into their prior decisions made during

the 2020 open enrollment period. “[T]he open enrollment process for 2020 was plagued by




91
    Lauren Peller, Obamacare Marketplace Won’t Extend Open Enrollment Period Amid
Coronavirus, CBS News (Apr. 3, 2020), https://www.cbsnews.com/news/obamacare-
marketplace-wont-up-extend-open-enrollment-period-amid-coronavirus-2020-04-03/.
92
    See Amy Goldstein, First, The Coronavirus Pandemic Took Their Jobs. Then, It Wiped Out
Their Health Insurance, Wash. Post (Apr. 18, 2020),
https://www.washingtonpost.com/health/first-the-coronavirus-pandemic-took-their-jobs-then-it-
wiped-out-their-health-insurance/2020/04/18/1c2cb5bc-7d7c-11ea-8013-
1b6da0e4a2b7 story.html.
93
    Responding to COVID-19.
94
    Margot Sanger-Katz & Reed Abelson, Obamacare Markets Will Not Reopen, Trump
Decides, N.Y. Times (Apr. 1, 2020), https://www.nytimes.com/2020/04/01/upshot/obamacare-
markets-coronavirus-trump.html.
95
    CMS Could Do More; see also Newly Unemployed Scramble.

                                                 29
         Case 1:20-cv-01566-TJK Document 1 Filed 06/15/20 Page 32 of 60




technical issues, leading to the possibility that more people wanted to enroll in coverage but were

unable to.”96 Indeed, it is possible that “at least 1.26 million more people would be enrolled in

marketplace coverage today if not for the Trump administration’s attacks on the ACA.”97

Moreover, individuals choosing whether to enroll in the Fall of 2019 cannot possibly have

predicted that the world would face a once-in-a-generation pandemic.

               Concerns over adverse selection98 are also less pressing given that sick and

healthy individuals alike seek the peace of mind that enrolling in health insurance coverage

would provide. This view is further confirmed by the support that the insurance industry—the

constituency most incentivized to raise adverse selection-based concerns—have shown for the

opening of an “exceptional circumstances” SEP.99

               In sum, a “special enrollment period would … enable[] Americans who have lost

their jobs to obtain new health insurance more easily and with less paperwork at an urgent time,




96
    CMS Could Do More.
97
    Charles Gaba & Emily Gee, How Trump’s Policies Have Hurt ACA Marketplace Enrollment,
Ctr. for Am. Progress (Apr. 16, 2020),
https://www.americanprogress.org/issues/healthcare/news/2020/04/16/483362/trumps-policies-
hurt-aca-marketplace-enrollment/.
98
    “‘Adverse selection’ is an economic term of art that describes problems that can arise in
insurance markets when the healthy have insufficient incentive to purchase health insurance, and
thus the resulting pool of insureds consists predominantly of the sick and those actively using
their insurance.” Cutler v. U.S. Dep't of Health & Human Servs., 797 F.3d 1173, 1176 n.1 (D.C.
Cir. 2015).
99
    Letter from Matthew Eyles, President & CEO, Am.’s Health Insurance Plans & Scott Serota,
President & CEO, Blue Cross Blue Shield Ass’n to Nancy Pelosi, Speaker of the House et al.
(Mar. 19, 2020), https://www.ahip.org/wp-content/uploads/AHIP-and-BCBSA-Legislative-
Recommendations-03.19.2020.pdf (the “AHIP Letter”).

                                                30
         Case 1:20-cv-01566-TJK Document 1 Filed 06/15/20 Page 33 of 60




… as well as give those who have already been uninsured another chance to purchase insurance

as the pandemic ramps up.”100

               There is a wide consensus behind an SEP.

               The Trump Administration has already received letters of support from governors

and other state officials,101 members of Congress,102 and over 200 non-profits, including


100
    Alison Durkee, Americans Can’t Sign Up for Health Insurance During a Global Pandemic,
Trump Decides, Vanity Fair (Apr. 2, 2020), https://www.vanityfair.com/news/2020/04/trump-
rejects-aca-special-enrollment-period-coronavirus.
101
    See, e.g., Letter from Douglas A. Ducey, Governor of Arizona, to Alex M. Azar II, HHS
Sec’y (Mar. 25, 2020), https://azgovernor.gov/sites/default/files/20200325131134559.pdf; Letter
from Tom Wolf, Governor of Pennsylvania, To Alex M. Azar II, HHS Sec’y & Seema Verma,
CMS Administrator (Mar. 16, 2020),
https://www.insurance.pa.gov/Documents/Press%20and%20Communications/Testimonies%2c%
20Remarks%2c%20Speeches/03.16.20%20TWW%20COVID%2019%20SEP%20letter.pdf;
Letter from Gretchen Whitmer, Governor of Michigan et al. to Alex M. Azar II, HHS Sec’y &
Seema Verma, CMS Administrator (Apr. 13, 2020),
https://content.govdelivery.com/attachments/MIEOG/2020/04/13/file_attachments/1425515/AC
A%20Special%20Enrollment%20Letter%204.13.2020.pdf; Letter from Gretchen Whitmer,
Governor of Michigan to Donald Trump, President of the United States,
https://content.govdelivery.com/attachments/MIEOG/2020/03/12/file attachments/1399533/Gov
ernor%20Whitmer%20Letter%20to%20President%20Trump.pdf; Letter from Christopher T.
Sununu, Governor of New Hampshire to Alex M. Azar II, HHS Sec’y & Seema Verma, CMS
Administrator, https://www.governor.nh.gov/sites/g/files/ehbemt336/files/documents/secretary-
azar.pdf (last visited June 14, 2020); Letter from Philip D. Murphy, Governor of New Jersey to
Alex M. Azar II, HHS Sec’y & Seema Verma, CMS Administrator (Mar. 15, 2020),
http://d31hzlhk6di2h5.cloudfront.net/20200315/8f/63/22/fb/f333ac94f2e2ebf477b14898/Govern
or_Murphy_Letter_to_Secretary_Azar_and_Administrator_Verma_03152020.pdf; Letter from
Kate Brown, Governor of Oregon to Alex M. Azar II, HHS Sec’y & Seema Verma, CMS
Administrator (Mar. 23, 2020), https://healthcare.oregon.gov/marketplace/Documents/032320-
OR-SEP-request-secAzar-adminVerma-COVID19.pdf; Letter from Coalition of State Att’ys
General to Alex M. Azar II, HHS Sec’y & Seema Verma, CMS Administrator (Apr. 3, 2020),
https://www.oag.ca.gov/system/files/attachments/press-docs/CA%20NC%20COVID-
19%20healthcare%20exchange%20letter%20plus%20IA.pdf.
102
    Letter from Christopher S. Murphy, Senator, et al. to Alex M. Azar II, HHS Sec’y (Apr. 7,
2020),
https://www.manchin.senate.gov/imo/media/doc/SEP%20Letter%20to%20Azar%204.7.20%20F
inal.pdf?cb; Letter from Jack Reed, Senator, et al. to Alex M. Azar II, HHS Sec’y & Seema
Verma, CMS Administrator (Mar. 12, 2020),
https://www.peters.senate.gov/imo/media/doc/03.12.20%20Ltr%20to%20HHS%20CMS%20Re


                                               31
         Case 1:20-cv-01566-TJK Document 1 Filed 06/15/20 Page 34 of 60




providers’ associations, patient groups, and policy and advocacy organizations,103 which echo

these points.

                America’s Health Insurance Plans and Blue Cross Blue Shield also encouraged

the Administration to provide a special enrollment period, writing that it would “give people the

opportunity to get the security and peace of mind that health care coverage provides.”104 Both

entities, along with other insurers and the U.S. Chamber of Commerce, also sent another letter

advocating for “a new, one-time SEP for enrollment in the Marketplaces specifically for those

individuals who are uninsured and not otherwise eligible for an existing SEP.”105 In neither letter

did the insurance industry mention any concerns regarding potential adverse selection, which

would typically affect insurers the most.




%20Coronavirus%20Special%20Enrollment.pdf; Letter from Lloyd Doggett, Representative, et
al. to Alex M. Azar II, HHS Sec’y (Mar. 13, 2020),
https://doggett.house.gov/sites/doggett.house.gov/files/2020.3.13%20Azar%20Letter 0.pdf.
103
     Letter from Organizations to Alex M. Azar II, HHS Sec’y et al. (Mar. 20, 2020),
https://younginvincibles.org/wp-content/uploads/2020/03/Request_Emergency-Special-
Enrollment-Period-to-Combat-COVID-19.pdf; Letter from Ingrida Lusis, Vice-President, Policy
& Government Affairs, Am. Nurses Ass’n to Alex M. Azar II, HHS Sec’y (Apr. 2, 2020),
https://www.nursingworld.org/~495ff2/globalassets/practiceandpolicy/work-environment/health-
-safety/coronavirus/special-open-enrollment---hhs---04032020---final.pdf; Letter from Robert M.
McLean, President, Am. College of Physicians to Mike Pence, Vice President of the United
States et al. (Apr. 28, 2020),
https://www.acponline.org/acp policy/letters/letter to vice president pence and hhs regarding
 a special enrollment period for federally-facilitated exchanges april 2020.pdf.
104
     AHIP Letter.
105
     Letter from Insurers and Others to Nancy Pelosi, Speaker of the House at 2 (Apr. 28, 2020),
https://www.aha.org/system/files/media/file/2020/04/Letter%20COVID%20Coverage%20Coaliti
on.pdf.

                                                32
         Case 1:20-cv-01566-TJK Document 1 Filed 06/15/20 Page 35 of 60




               The Association for Community Affiliated Plans has similarly noted that it is

“already seeing stories of people who are afraid to come forward for testing or treatment because

they do not have comprehensive health coverage.”106

               The American Enterprise Institute has also supported a special enrollment period,

arguing that failing to do so would “needlessly make matters worse for millions of Americans

who lose both their jobs and their health insurance in the coming weeks.”107

               HHS itself has emphasized the exceptional nature of the pandemic and the need

for aggressive regulatory responses. HHS Secretary Azar formally declared a “public health

emergency” to enable HHS to issue certain waivers,108 which have been designed to alleviate

regulatory burdens on insurers, providers, and other major companies.109 In issuing one set of

waivers, CMS Administrator Verma explicitly referenced “President Trump declar[ing] the

rapidly evolving COVID-19 situation a national emergency”; asserted that “it remains vital that

our healthcare system be equipped to respond effectively to the additional cases that do arise,

that federal requirements designed for periods of relative calm do not hinder measures needed in

an emergency”; and noted that such waivers “are reserved for the rarest of situations.”110



106
    Allison Bell, Pressure For National COVID-19 Special Enrollment Period Builds,
ThinkAdvisor (Mar. 20, 2020), https://www.thinkadvisor.com/2020/03/20/pressure-for-national-
covid-19-special-enrollment-period-builds/?slreturn=20200301200529.
107
    Blocking Open Enrollment.
108
    Determination that A Public Health Emergency Exists, Pub. Health Emergency (Jan. 31,
2020), https://www.phe.gov/emergency/news/healthactions/phe/Pages/2019-nCoV.aspx.
109
    Coronavirus Waivers & Flexibilities, CMS, https://www.cms.gov/about-cms/emergency-
preparedness-response-operations/current-emergencies/coronavirus-waivers (last updated June
10, 2020); Emergency Use Authorization, FDA, https://www.fda.gov/emergency-preparedness-
and-response/mcm-legal-regulatory-and-policy-framework/emergency-use-authorization#2019-
ncov (last updated June 13, 2020).
110
    Emergency Declaration Press Call Remarks by CMS Administrator Seema Verma, CMS
(Mar. 13, 2020), https://www.cms.gov/newsroom/press-releases/emergency-declaration-press-
call-remarks-cms-administrator-seema-verma.

                                                33
         Case 1:20-cv-01566-TJK Document 1 Filed 06/15/20 Page 36 of 60




               Citing the “national emergency” posed by the pandemic, the IRS and the

Employee Benefits Security Administration recently extended deadlines for enrolling in group

health plans and other benefit plans until 60 days after the end of the pandemic, as well as for

enrolling in COBRA continuation coverage. Extension of Certain Timeframes for Employee

Benefit Plans, Participants, and Beneficiaries Affected by the COVID-19 Outbreak, 85 Fed. Reg.

26,351, 26,351 (May 4, 2020). In doing so, the agencies recognized the need to “take steps to

minimize the possibility of individuals losing benefits because of a failure to comply with certain

pre-established timeframes,” and stated that “such relief is immediately needed to preserve and

protect the benefits of participants and beneficiaries in all employee benefit plans across the

United States during the National Emergency.” Id.

               HHS reviewed and expressly concurred with the agencies, noting that it would

“exercise enforcement discretion to adopt a temporary policy of measured enforcement to extend

similar timeframes otherwise applicable to non-Federal governmental group health plans and

health insurance issuers.” Id. The notice also referenced the legal requirement that Labor,

Treasury, and HHS “ensure through an interagency Memorandum of Understanding (MOU) that

regulations, rulings, and interpretations issued by each of the Departments relating to the same

matter over which two or more departments have jurisdiction, are administered so as to have the

same effect at all times.” Id. at 26,351 n.6 (citing 42 U.S.C. § 300gg-92 n.).

               Separately, CMS has announced that, in the context of Medicare Advantage and

Medicare Part D, it would interpret “the exceptional conditions Special Enrollment Period (SEP)

adopted under 42 CFR 422.62(b)(4) and 423.38(c)(8)(ii) for Individuals Affected by a FEMA-

Declared Weather Related Emergency or Major Disaster” to apply to “beneficiaries who were




                                                 34
         Case 1:20-cv-01566-TJK Document 1 Filed 06/15/20 Page 37 of 60




eligible for—but unable to make—an election because they were affected by the COVID-19

pandemic.”111

                For other Medicare parts, CMS has also announced that it will provide “equitable

relief” to “eligible individuals who could not submit a timely enrollment due to the impact

COVID-19 pandemic-related national emergency had on SSA’s processing.” However, CMS

will not require such individuals to “show proof they were impacted.”112

                In other words, in response to the pandemic, HHS and its sub-components have

provided extraordinary flexibility to regulated industries, and have provided for expanded

enrollment opportunities for other sources of health coverage, but inexplicably have not provided

a special enrollment period for federally-facilitated and hybrid ACA Exchanges.

IV.    Defendants unlawfully rejected a special enrollment period solely to avoid
       “propping up” the Affordable Care Act.

                Notwithstanding the many reasons to provide a special enrollment period along

the same lines as the state Exchanges, the Trump Administration ultimately elected not to

provide a special enrollment period for the 32 federally-facilitated Exchanges and 6 hybrid

Exchanges.




111
    Memorandum from Jerry Mulcahy to All Medicare Advantage Organizations, Part D
Sponsors, and Medicare-Medicaid Plans (May 5, 2020),
https://www.cms.gov/files/document/special-enrollment-period-sep-individuals-affected-fema-
declared-weather-related-or-other-major.pdf.
112
    Enrollment Issues for COVID-19 Pandemic-Related National Emergency Questions and
Answers for Medicare Beneficiaries, CMS, https://www.cms.gov/files/document/enrollment-
issues-covid-ab-faqs.pdf (last visited June 14, 2020).

                                               35
         Case 1:20-cv-01566-TJK Document 1 Filed 06/15/20 Page 38 of 60




               A CMS spokesperson confirmed on March 21 that the Trump Administration was

“considering whether to create a special enrollment period for Obamacare coverage because of

the coronavirus emergency.”113

               The Trump Administration “had been considering the action for several

weeks.”114

               The planning for a special enrollment period was sufficiently advanced that

“[i]nsurers said they had expected Trump to announce a special enrollment period … based on

conversations they had with officials at [CMS].”115 Indeed, “by late March, administration

officials sent word to insurers that the call would soon be official: They were reopening

Obamacare.”116

               However, “the situation suddenly became ‘fluid,’ in the description of one

executive,” while “[a]nother described the administration as divided about whether to proceed,

especially given the president’s support for the lawsuit that would overturn the law.”117

               Defendants ultimately decided not to provide a special enrollment period.




113
    Mohana Ravindranath, Trump Officials Weigh Reopening Obamacare Enrollment Over
Coronavirus, Politico (Mar. 21, 2020), https://www.politico.com/news/2020/03/21/trump-
administration-obamacare-coronavirus-140806.
114
    Obamacare Markets Will Not Reopen.
115
    Susannah Luthi, Trump Rejects Obamacare Special Enrollment Period Amid Pandemic,
Politico (Mar. 31, 2020), https://www.politico.com/news/2020/03/31/trump-obamacare-
coronavirus-157788.
116
    How Trump Surprised His Own Team.
117
    Obamacare Markets Will Not Reopen; see Texas v. United States, 945 F.3d 355, 373 (5th
Cir. 2019), cert. granted, 140 S. Ct. 1262 (2020).

                                                36
           Case 1:20-cv-01566-TJK Document 1 Filed 06/15/20 Page 39 of 60




                 The decision was first communicated publicly on March 31, when a White House

official told Politico that the Trump Administration had decided not to provide a special

enrollment period.118

                 HHS Secretary Azar defended the decision on the grounds that allowing providers

to seek reimbursement through two legislatively-created funds is “better for … uninsured

individuals” because it provides “disease-specific support of care to make sure that people get

treatment.”119

                 Defendants have not provided a written explanation of why the novel coronavirus

pandemic did not qualify as an “exceptional circumstance,” or why reopening the Exchanges

would constitute bad policy.

                 Defendants’ decision not to reopen the Exchanges ultimately rested on a political

calculation made by the White House and reached because “[t]he president opposed reopening

the Obamacare marketplaces when presented with the option.”120

                 President Trump’s contempt for the ACA is well known, and guided Defendants’

ultimate decision. “In meetings at the White House in the time between his stated consideration

and his announced rejection of the idea, Trump on multiple occasions … referred to Obamacare

as ‘a failure,’ and questioned why the administration should bother helping to prop it up.”121

                 A member of the President’s party “close to the administration” characterized the

decision as “purely ideological,” while an administration official characterized it as “a bad




118
      Trump Rejects Obamacare Special Enrollment Period.
119
      How Trump Surprised His Own Team.
120
      Id.
121
      Biden Tells Trump.

                                                 37
         Case 1:20-cv-01566-TJK Document 1 Filed 06/15/20 Page 40 of 60




decision opticswise” because it “politicizes people’s access to health services during a serious

national health emergency.”122

               The decision “surprised even some officials in the Health and Human Services

Department, who believed the concept was still under consideration,” and worried officials who

“viewed the verdict as an unforced error in the middle of a historic pandemic.”123

               The Trump Administration has also “declined to publicize the existing options for

Americans who have recently lost health benefits through job reductions.”124

               Defendants’ decision not to provide a special enrollment period, their denial of

requests to do so, their apparent interpretation of the term “exceptional circumstances,” and their

conclusion that the novel coronavirus does not constitute an “exceptional circumstance,” all

constitute “final agency action for which there is no other adequate remedy in a court” and is

“subject to judicial review.” 5 U.S.C. § 704; see id. § 702.

V.     Defendants have repeatedly attempted to sabotage the ACA.

               The Trump Administration’s decision not to open a special enrollment period

“follows a long-established pattern by the administration to weaken and discourage enrollees to

the ACA at nearly every turn possible” in an effort to sabotage the law.125 That history reveals

that the decision not to open an “exceptional circumstances” SEP resulted from President

Trump’s hatred of the ACA, not the reasoned decisionmaking required by the APA.




122
    How Trump Surprised His Own Team.
123
    Id.
124
    Obamacare Markets Will Not Reopen.
125
    Katelyn Burns, Trump Could Have Reopened Enrollment for the Affordable Care Act for
Coronavirus. He Chose Not to., Vox (Apr. 1, 2020), https://www.vox.com/policy-and-
politics/2020/4/1/21202841/trump-enrollment-affordable-care-act-coronavirus.

                                                 38
            Case 1:20-cv-01566-TJK Document 1 Filed 06/15/20 Page 41 of 60




                Defendants have promised to undermine the ACA.

                Specifically, President Trump and his advisors have repeatedly promised to

undermine the Affordable Care Act as a substitute for repealing it legislatively.

                On January 25, 2017, President Trump stated, “[T]he best thing we could do is

nothing for two years, let [the ACA] explode. And then we’ll go in and we’ll do a new plan

and—and the Democrats will vote for it. Believe me … . So let it all come [due] because that’s

what’s happening. It’s all coming [due] in ‘17. We’re gonna have an explosion. And to do it

right, sit back, let it explode and let the Democrats come begging us to help them because it’s on

them.”126

                After Congress declined to repeal the Affordable Care Act on July 28, 2017,

President Trump tweeted, “3 Republicans and 48 Democrats let the American people down. As I

said from the beginning, let ObamaCare implode, then deal. Watch!”127

                On October 13, 2017, President Trump stated, “We’re taking a little different

route than we had hoped, because getting Congress—they forgot what their pledges were. … So

we’re going a little different route. But you know what? In the end, it’s going to be just as

effective, and maybe it’ll even be better.”128




126
    Transcript: ABC News Anchor David Muir Interviews President Trump, ABC News (Jan. 25,
2017), http://abcnews.go.com/Politics/transcript-abc-news-anchor-david-muir-interviews-
president/story?id=45047602.
127
    Donald J. Trump (@realDonaldTrump), Twitter (July 28, 2017, 2:25 AM),
https://twitter.com/realDonaldTrump/status/890820505330212864.
128
    President Trump Addresses Values Voters Summit, CNN (Oct. 13, 2017),
http://www.cnn.com/TRANSCRIPTS/1710/13/cnr.04.html.

                                                 39
          Case 1:20-cv-01566-TJK Document 1 Filed 06/15/20 Page 42 of 60




                In late April 2018, at a rally in Michigan, President Trump bragged, “Essentially,

we are getting rid of Obamacare …. Some people would say, essentially, we have gotten rid of

it.”129

                In signing a bill unrelated to the ACA on May 30, 2018, President Trump stated:

“For the most part, we will have gotten rid of a majority of Obamacare.”130 He went on to

confirm that his Administration’s objective is to achieve by executive action alone what

Congress has refused to do: “Could have had it done a little bit easier, but somebody decided not

to vote for it, so it’s one of those things.”131

                At a rally on June 23, 2018, according to an observer, President Trump

complained about Congress’s decision not to repeal the ACA and told audience members that

“‘it doesn’t matter. We gutted it anyway.’”132

                On August 1, 2018, President Trump returned to the same theme, stating that even

though Congress declined to repeal the ACA, “I have just about ended Obamacare,” but “we’re

doing it a different way. We have to go a different route.”133




129
    Alan Rappeport, Trump Says He Got Rid of Obamacare. The I.R.S. Doesn’t Agree, N.Y.
Times (May 6, 2018), https://www.nytimes.com/2018/05/06/business/trump-obamacare-irs.html.
130
    Remarks by President Trump at S.204, “Right to Try” Bill Signing, The White House (May
30, 2018), https://www.whitehouse.gov/briefings-statements/remarks-president-trump-s-204-
right-try-bill-signing/.
131
    Id.
132
    Laura Litvan (@LauraLitvan), Twitter (June 23, 2018, 4:04 PM),
https://twitter.com/LauraLitvan/status/1010614472946352128; see also Jake Sherman et al.,
Overheard at the DSCC Retreat on Martha’s Vineyard, Politico (June 24, 2018),
https://www.politico.com/newsletters/playbook/2018/06/24/overheard-at-the-dscc-retreat-on-
marthas-vineyard-281247.
133
    President Trump Calls the Show!, The Rush Limbaugh Show (Aug. 1, 2018),
https://www.rushlimbaugh.com/daily/2018/08/01/president-trump-calls-the-show/amp/
(emphasis added).

                                                   40
         Case 1:20-cv-01566-TJK Document 1 Filed 06/15/20 Page 43 of 60




               On October 2, 2018, President Trump referenced the ACA and stated, “We had it

repealed and replaced. A little shock[] took place early in the morning. But the fact is, we didn’t

get one Democrat vote…. But we’ve pretty much dismantled it.”134

               On November 2, 2018, President Trump boasted that his Administration is

“decimating [the ACA] strike by strike;”135 “we’ve decimated Obamacare.”136

               On March 5, 2020, President Trump reiterated that he wanted to “totally kill” the

Affordable Care Act.137

               On May 6, 2020, during a press availability in the Oval Office, President Trump

declared that his Administration would continue arguing to invalidate the ACA, stating that

“Obamacare is a disaster,” that “[w]hat we want to do is terminate it,” and that his

Administration had “already pretty much killed it.”138




134
    Speech: Donald Trump Holds a Political Rally in Southaven, MS – October 2, 2018,
Factbase, https://factba.se/transcript/donald-trump-speech-maga-rally-southaven-ms-october-2-
2018.
135
    Speech: Donald Trump Holds a Political Rally in Huntington, West Virginia – November 2,
2018, Factbase, https://factba.se/transcript/donald-trump-speech-maga-rally-huntington-wv-
november-2-2018.
136
    Jim Acosta (@Acosta), Twitter (Nov. 2, 2018, 8:19 PM),
https://twitter.com/acosta/status/1058514065595777024?s=21.
137
    Remarks by President Trump at a Fox News Town Hall, White House (Mar. 6, 2020),
https://www.whitehouse.gov/briefings-statements/remarks-president-trump-fox-news-town-hall-
scranton-pa/.
138
    Nikki Carvajal, Trump Says Administration Will Continue Legal Fight to Eliminate
Obamacare, CNN (May 6, 2020), https://www.cnn.com/2020/05/06/politics/trump-
obamacare/index.html.

                                                41
          Case 1:20-cv-01566-TJK Document 1 Filed 06/15/20 Page 44 of 60




                On May 26, 2020, during a press availability in the Oval Office, President Trump

claimed that “[w]e slashed Obamacare’s crippling requirements,” and that “essentially we got rid

of Obamacare, if you want to know the truth. You can say that in the truest form.”139

                Defendants have taken actions designed to undermine the ACA.

                President Trump and his Administration have made good on their threats to

undermine the ACA through executive action, although the ACA has continued to function and

remains the law of the land.

                Hours after he was sworn in, President Trump signed Executive Order No.

13,765, Minimizing the Economic Burden of the Patient Protection and Affordable Care Act

Pending Repeal, 82 Fed. Reg. 8,351 (Jan. 20, 2017). The Order turned what had been candidate

Trump’s promises to repeal the ACA into President Trump’s official policy. Id. § 1 (“It is the

policy of my Administration to seek the prompt repeal of the Patient Protection and Affordable

Care Act ….”). “[P]ending such repeal,” the Order directs Administration officials to “take all

actions consistent with law to minimize the unwarranted economic and regulatory burdens of the

Act.” Id.; see id. §§ 2-4.

                On October 12, 2017, President Trump signed Executive Order No. 13,813,

entitled Promoting Healthcare Choice and Competition Across the United States, 82 Fed. Reg.

48,385 (Oct. 12, 2017). The Order directs the Administration to “prioritize three areas for

improvement in the near term: association health plans (AHPs), short-term, limited-duration

insurance (STLDI), and health reimbursement arrangements (HRAs),” id. § 1(b). All three

provide coverage, often bare-bones, that does not need to comply with the ACA’s requirements.



139
    Remarks by President Trump on Protecting Seniors with Diabetes, White House (May 26,
2020), https://www.whitehouse.gov/briefings-statements/remarks-president-trump-protecting-
seniors-diabetes/.

                                                42
         Case 1:20-cv-01566-TJK Document 1 Filed 06/15/20 Page 45 of 60




In keeping with Executive Order No. 13,813’s directive, the Administration has issued rules

expanding access to AHPs,140 and STLDI,141 and HRAs.142 Such plans provide especially meager

protection against the novel coronavirus, including major coverage gaps and high cost-sharing.143

               Section 1332 of the ACA, 42 U.S.C. § 18052, permits states to apply for waivers

of some of the law’s requirements in order to promote innovative policies that satisfy certain

statutorily-prescribed guardrails, see id. § 18052(b)(1). Although the Trump Administration has

encouraged states to apply for Section 1332 waivers,144 it has either denied or not responded to

many of the requests for waivers that it has received,145 especially when it believes that granting

the waivers would faithfully implement the Act by expanding access to coverage. By contrast,

the Administration has eagerly processed state waivers that are designed to reduce access to

quality health insurance.146


140
    See Definition of “Employer” Under Section 3(5) of ERISA—Association Health Plans, 83
Fed. Reg. 28,912 (June 21, 2018).
141
    See Short-Term, Limited-Duration Insurance, 83 Fed. Reg. 38,212 (Aug. 3, 2018).
142
    See Health Reimbursement Arrangements and Other Account-Based Group Health Plans, 84
Fed. Reg. 28,888 (June 20, 2019).
143
    Emily Curran et al., In the Age of COVID-19, Short-Term Plans Fall Short for Consumers,
Commonwealth Fund (May 12, 2020), https://www.commonwealthfund.org/blog/2020/age-
covid-19-short-term-plans-fall-short-consumers.
144
    See, e.g., Letter from Thomas E. Price, former HHS Sec’y, to state governors (Mar. 13,
2017), https://www.cms.gov/CCIIO/Programs-and-Initiatives/State-Innovation-
Waivers/Downloads/March-13-2017-letter_508.pdf (“We welcome the opportunity to work with
states on Section 1332 State Innovation Waivers….”).
145
    See Alison Kodjak, Administration Sends Mixed Signals On State Health Insurance Waivers,
NPR (Oct. 19, 2017), http://www.npr.org/sections/health-
shots/2017/10/19/558310690/administration-sends-mixed-signals-on-state-health-insurance-
waivers. See generally Section 1332: State Innovation Waivers, CMS,
https://www.cms.gov/CCIIO/Programs-and-Initiatives/State-Innovation-
Waivers/Section 1332 State Innovation Waivers-.html (listing pending, approved, and denied
waiver requests).
146
    See Bruce Japsen, Trump’s Medicaid Work Rules Hit States With Costs And Bureaucracy,
Forbes (July 22, 2018), https://www.forbes.com/sites/brucejapsen/2018/07/22/trumps-medicaid-


                                                43
         Case 1:20-cv-01566-TJK Document 1 Filed 06/15/20 Page 46 of 60




               As reflected by the statements catalogued above, the Administration’s

communications strategy is aimed at creating a false public impression about the ACA and

reducing public confidence in the law and its Exchanges, thereby discouraging individuals from

enrolling in ACA-compliant insurance and weakening the Exchanges. Indeed, Senators Schatz,

Booker, and Murphy have collected numerous examples where HHS social media accounts

published “anti-ACA content.”147

               The Trump Administration has repeatedly shortened the period for open

enrollment, cutting the open enrollment period for 2018 plans in half compared to prior years.148

The Administration again shortened open enrollment in 2019 and 2020.149 Shortening the open

enrollment period is designed to make it more difficult for individuals to enroll in health

insurance coverage and further destabilize the Exchanges.

               The Trump Administration has repeatedly slashed funding for outreach and

advertising for open enrollment,150 even though robust evidence known to HHS demonstrates




work-rules-hit-states-with-costs-and-bureaucracy/#745af26066f5; see also Stewart v. Azar, 313
F. Supp. 3d 237 (D.D.C. June 29, 2018).
147
    Letter from Brian Schatz, Senator, et al. to Thomas E. Price, former HHS Sec’y, at 1 (July
21, 2017), https://www.schatz.senate.gov/imo/media/doc/7.21.17%20Schatz-Booker-
Murphy%20Letter%20to%20Sec.%20Price.pdf.
148
    Patient Protection and Affordable Care Act; Market Stabilization, 82 Fed. Reg. 18,346,
18,353-54 (Apr. 18, 2017); see 45 C.F.R. § 155.410(e).
149
    Clary Estes, We Are Midway Through ACA’s 2020 Enrollment Period, but The Trump
Administration Is Hoping You Won’t Notice, Forbes (Nov. 23, 2019),
https://www.forbes.com/sites/claryestes/2019/11/23/we-are-midway-through-acas-2020-
enrollment-period-but-the-trump-administration-is-hoping-you-wont-notice/#45ab958f6bb1.
150
    Paul Demko, Trump White House Abruptly Halts Obamacare Ads, Politico (Jan. 26, 2017),
http://www.politico.com/story/2017/01/trump-white-house-obamacare-ads-234245; Policies
Related to the Navigator Program and Enrollment Education for the Upcoming Enrollment
Period, CMS 1 (Aug. 31, 2017), https://www.cms.gov/CCIIO/Programs-and-Initiatives/Health-
Insurance-Marketplaces/Downloads/Policies-Related-Navigator-Program-Enrollment-Education-
8-31-2017.pdf

                                                44
         Case 1:20-cv-01566-TJK Document 1 Filed 06/15/20 Page 47 of 60




robust advertising, and television advertising in particular, is critical to fulfilling the ACA’s goal

of increasing enrollment.151 The Administration has also slashed funding for navigators, groups

which assist individuals in the enrollment process.152

               In sum, there is substantial reason to believe that the Trump Administration’s

decision not to provide a special enrollment period in response to the novel coronavirus

pandemic was motivated by President Trump’s intent to unlawfully sabotage the Affordable Care

Act, as has been publicly reported.

VI.    Defendants’ unlawful decision harms Chicago.

               By definition, Defendants’ unlawful decision to bar uninsured and underinsured

individuals from enrolling in health insurance in response to a global pandemic will mean that

more individuals are uninsured and underinsured than would have been the case with a blanket

SEP. As explained above, providing a special enrollment period would make it easier and more

attractive for families to enroll in ACA-compliant coverage—which could give as many as two

million people insurance through the federally-facilitated and hybrid Exchanges. But Defendants

did not, and so those people will not.

               The consequences of that failure are immense. “[C]ompared to the insured

population, the uninsured are more likely to skip or postpone needed care due to cost.”153 Then,

“when uninsured persons do use services, they are likely to need more costly health services




151
    See id.
152
    GAO-18-567, Health Insurance Exchanges: HHS Should Enhance Its Management of Open
Enrollment Performance, U.S. Gov’t Accountability Office 23 (2018),
https://www.gao.gov/assets/700/693362.pdf; see also Sabotage Watch.
153
    James Benedict, Chronic Disease Management of the Uninsured Patient at Ohio Free
Clinics, Walden Univ. 5 (Aug. 2016),
https://scholarworks.waldenu.edu/cgi/viewcontent.cgi?article=3816&context=dissertations.

                                                  45
         Case 1:20-cv-01566-TJK Document 1 Filed 06/15/20 Page 48 of 60




because of delays in seeking care.”154 Defendants’ decision therefore impedes efforts to test for

and treat the novel coronavirus, exacerbating the pandemic’s spread—not to mention a wide

range of acute and chronic conditions that individuals face even in ordinary times.

               When uninsured and underinsured individuals do seek care, they obtain it from

uncompensated care providers, like local governments. As a general matter, local governments

often provide a variety of health services to those who, lacking adequate health insurance, cannot

pay for medical treatment. For that reason, “local governments (municipalities, counties, and

special-purpose health or hospital districts) bear a large share of the direct financing of public

hospital and clinic services.”155 In 2013, for example, state and local governments spent $19.8

billion to cover uncompensated care.156 Thus, a higher “number of uninsured and … amount of

uncompensated care …. will translate into increased pressure on state and local government to

finance the growing cost of the uninsured.”157

               By preventing Americans from enrolling in ACA-compliant coverage,

Defendants’ refusal to provide a special enrollment period further strains Chicago’s public health

and emergency response infrastructure at a time when Chicago is least equipped to bear it. And it



154
    Institute of Medicine, A Shared Destiny: Community Effects of Uninsurance 125 (2003),
https://www.ncbi.nlm.nih.gov/books/NBK221329/.
155
    Id. at 128.
156
    Patrick Kaiser & Eric Cochling, Increasing Access to Quality Healthcare for Low-Income
Uninsured Georgians Policy Recommendations for the State of Georgia, Ga. Ctr. for
Opportunity 12 (June 2014), https://georgiaopportunity.org/assets/2014/06/Charity-Care-
Report.pdf.
157
    John Holahan & Bowen Garnett, The Cost of Uncompensated Care With and Without Health
Reform, Urban Inst. 4 (Mar. 2010),
https://www.urban.org/sites/default/files/publication/28431/412045-The-Cost-of-
Uncompensated-Care-with-and-without-Health-Reform.PDF; see also Erin F. Taylor et al.,
Community Approaches to Providing Care for the Uninsured, 25 Health Aff. 173, 173 (2006),
https://www.healthaffairs.org/doi/pdf/10.1377/hlthaff.25.w173 (“Increases in the number of
uninsured people often strain local safety nets and health systems.”).

                                                 46
         Case 1:20-cv-01566-TJK Document 1 Filed 06/15/20 Page 49 of 60




will frustrate Chicago’s efforts to control the spread of the novel coronavirus by discouraging its

residents from seeking testing and treatment. These dynamics harm the City’s budget, as well as

its overall health and well-being.

               Chicago’s health infrastructure

               Chicago has a Department of Public Health that generally seeks to promote and

improve the health of city residents. The Department has an annual budget of around $221

million and is staffed by over 600 full-time employees.158

               The Chicago Department of Public Health operates free clinics. Specifically, the

Department operates five clinics that provide free vaccinations;159 five clinics that provide

mental-health services at no cost for uninsured and underinsured Chicago residents;160 and three

clinics that provide free testing and treatment for sexually transmitted infections.161 The City also

provides certain at-home or in-field health programs, such as nursing home support for pregnant

women and newborn babies and directly observed therapy for tuberculosis. Collectively, these

clinics and services serve thousands of uninsured and underinsured city residents and, in

particular, provide services that may not be covered by non-ACA-compliant health coverage.




158
    2020 Budget Overview, City of Chicago 126
https://www.chicago.gov/content/dam/city/depts/obm/supp info/2020Budget/2020BudgetOvervi
ew.pdf.
159
    Walk-In Immunization Clinics, City of Chicago,
https://www.chicago.gov/city/en/depts/cdph/supp_info/health-protection/immunizations_walk-
inclinics.html.
160
    Mental Health Centers, City of Chicago,
https://www.cityofchicago.org/city/en/depts/cdph/supp info/behavioral-
health/mental_health_centers.html.
161
    STI/HIV Testing and STI Treatment, City of Chicago,
https://www.cityofchicago.org/city/en/depts/cdph/provdrs/health_services/svcs/get_yourself_eva
luatedforstihivaids.html.

                                                 47
         Case 1:20-cv-01566-TJK Document 1 Filed 06/15/20 Page 50 of 60




               Each of these clinics faces greater demand when there is an increase in either the

health needs of Chicago residents or in the number of uninsured or underinsured individuals who

cannot obtain those services or other forms of health care elsewhere.

               The Chicago Department of Public Health also partners with, and provides

funding to, community-based health centers to offer a wide array of medical services, including

for uninsured and underinsured patients.162

               The higher the uninsured and underinsured rate, the more that the clinics operated

by the Department of Public Health and its community-based partners will necessarily have to

provide forms of free or reduced-cost care to patients. In that event, Chicago either must provide

the Department and its partners with more funding, or the Department and its partners must

decrease the services that they provide.

               The Department of Public Health also conducts citywide surveillance and

response efforts for communicable and vaccine-preventable diseases, including 31 employees

and around $3.5 million for communicable disease, 32 employees and around $11.5 million for

vaccine-preventable disease, 44 employees and around $28.5 million for emergency

preparedness, and 25 employees and around $5 million for epidemiology and IT/informatics.163

               The Department of Public Health also partners with all hospitals and healthcare

organizations in the City of Chicago through the Healthcare System Preparedness Program,

which supports the Chicago Health System Coalition for Preparedness and Response.164 This



162
    Health Services, City of Chicago,
https://www.cityofchicago.org/city/en/depts/cdph/provdrs/health services.html.
163
    2020 Chicago Budget Overview at 126-28.
164
    Healthcare System Preparedness Program, City of Chicago,
https://www.chicago.gov/city/en/depts/cdph/supp_info/health-protection/healthcare-system-
preparedness-program.html (last visited June 14, 2020).

                                                48
           Case 1:20-cv-01566-TJK Document 1 Filed 06/15/20 Page 51 of 60




program includes coordination of all thirty five acute care and specialty hospitals, 110 long term

care facilities, 50 dialysis centers, all Federally Qualified Healthcare Centers, and other

organizations that provide health care services within the City.

                This program includes safety net hospitals which, as part of their participation,

demonstrate their ability to react to patient surges and complete accreditation requirements.

Safety net hospitals provide healthcare for individuals regardless of their insurance status or

ability to pay, and typically serve a higher proportion of uninsured, low-income, and other

vulnerable individuals than do other hospitals.

                Chicago's partnership with these hospitals includes financial support such as

situational awareness communication, support for data collection and reporting, disaster

exercises, clinical trainings, and providing supplies, such as personal protective equipment,

mechanical ventilators, and radios. In particular, this program benefits patients during surge

events, like the novel coronavirus pandemic.

                The Chicago Fire Department provides ambulance transportation services to its

residents, including its uninsured and underinsured residents. The Department receives around

$94 million in annual funding for emergency medical services, employing more than 800 people

to provide those services.165

                The Department’s paramedics provide ambulance-transportation services

approximately 250,000 times per year, with over 260,000 in 2019.




165
      2020 Chicago Budget Overview at 121.

                                                  49
         Case 1:20-cv-01566-TJK Document 1 Filed 06/15/20 Page 52 of 60




                The Chicago Fire Department provides ambulance services regardless of the

patient’s income or insurance status. Chicago generally seeks reimbursement for ambulance

services from the patient or, if applicable, the patient’s insurer.166

                However, Chicago usually does not receive full reimbursement for ambulance

services from its uninsured and underinsured residents. In 2018, for example, the Chicago Fire

Department provided ambulance services to 60,007 patients for whom no insurance was

identified. Chicago charged these patients $63,717,638 for ambulance services but collected just

$1,028,713—a loss of $62,688,925. These numbers increased in 2019, during which the Chicago

Fire Department provided ambulance services to 61,377 patients for whom no insurance was

identified. Chicago charged these patients $65,970,368 for ambulance services but collected just

$1,564,799—a loss of $64,958,819.167

                In Chicago’s experience, the uninsured and underinsured disproportionately rely

on ambulance service for transport to the emergency department.168 A higher number of

uninsured and underinsured individuals or an increase in acute health needs will therefore result

in more ambulance transports for which Chicago does not receive reimbursement and thus must

make up for the shortfall in its budget.



166
    Ambulance Bills, City of Chicago,
https://www.cityofchicago.org/city/en/depts/fin/supp info/revenue/ambulance bills.html (last
visited June 14, 2020).
167
    Because efforts to collect for 2019 are ongoing, these figures may change with time.
168
    Benjamin T. Squire et al., At-Risk Populations and the Critically Ill Rely Disproportionately
on Ambulance Transport to Emergency Departments, 56(4) Annals of Emergency Med. 341, 347
(2010), https://www.ncbi.nlm.nih.gov/pubmed/20554351; see also Zachary F. Meisel et al.,
Variations in Ambulance Use in the United States: The Role of Health Insurance, 18(10) Acad.
Emergency Med. 1036, 1041 (2011),
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3196627/pdf/nihms314403.pdf (“EMS use is
higher among those who historically have had difficulty accessing routine medical care,
specifically poor and uninsured patients.”).

                                                  50
         Case 1:20-cv-01566-TJK Document 1 Filed 06/15/20 Page 53 of 60




                Chicago’s response to the novel coronavirus.

                As of June 14, 2020, over 49,000 people have been confirmed to have been

diagnosed with the novel coronavirus in the City of Chicago, and over 2,300 people have been

confirmed to have died from it.169

                Chicago has been subject to the State of Illinois’s stay at home orders and other

coronavirus-related guidance, which generally provide that City residents “should stay home as

much as possible, only leave home for essential tasks, and always practice social distancing and

good hand hygiene.”170 The City’s Department of Public Health has issued several COVID 19-

related Executives Orders and guidance available on the City’s website,171 as well as

disseminated guidance to health care providers through the Chicago Department of Public

Health’s Health Alert Network.

                In response to the novel coronavirus, Chicago has mounted a comprehensive

effort to connect city residents to necessary health, food, housing, financial, and other

resources.172

                At the same time, the pandemic has necessarily created a new and widespread

need for health care services.




169
    Coronavirus Response Center, City of Chicago, https://www.chicago.gov/city/en/sites/covid-
19/home.html (last updated June 14, 2020).
170
    Latest Guidance, City of Chicago, https://www.chicago.gov/city/en/sites/covid-
19/home/latest-guidance.html (last visited June 14, 2020). As of June 14, 2020, Chicago was in
Phase 3, which permits certain additional industries to reopen cautiously, following specific
safety guidelines. Phase III Cautiously Reopen: Industry Guidelines for Reopening, City of
Chicago, https://www.chicago.gov/city/en/sites/covid-19/home/reopening-business-portal.html
(last visited June 14, 2020).
171
    Id.
172
    See Coronavirus Response Center.

                                                 51
            Case 1:20-cv-01566-TJK Document 1 Filed 06/15/20 Page 54 of 60




                Specifically, Chicago has directed its uninsured and underinsured residents to its

clinics and other community health centers to receive necessary health services during the

pandemic.173 Where in-person services are not possible or are unnecessary, Chicago is

committed to using telemedicine and technology to continue the health services it provides

directly to Chicago residents (e.g., mental health services, nursing home services, and WIC

support).

                Chicago also supports seven coronavirus testing sites within the City, operated by

the nonprofit CORE Foundation, and which are available to symptomatic residents,

asymptomatic residents with known exposure to the novel coronavirus, and asymptomatic

frontline workers.174 The City provides the funding for all testing kits and lab work for these

sites.

                The Department of Public Health operates a mobile app, Chi COVID Coach,

which “allows people who have coronavirus questions—or symptoms—to connect with trained

public health employees who can answer questions about symptoms, quarantine, testing

locations and more.”175 It has also established a call center and email address to take questions

from the public.176

                Although Chicago advises that individuals isolate themselves at home and receive

telephonic medical care, individuals who believe they have contracted the novel coronavirus



173
    Managing Your Health, City of Chicago, https://www.chicago.gov/city/en/sites/covid-
19/home/managing-your-health.html?#tab-shouldtest.
174
    Managing Your Health.
175
    Kelly Bauer, City’s New Chi COVID Coach App Lets You Sign Up For Vaccine Alerts,
Testing Information And More, Block Club Chi. (Apr. 27, 2020),
https://blockclubchicago.org/2020/04/27/citys-new-chi-covid-coach-app-lets-you-sign-up-for-
vaccine-alerts-testing-information-and-more/.
176
    Coronavirus Response Center.

                                                 52
         Case 1:20-cv-01566-TJK Document 1 Filed 06/15/20 Page 55 of 60




and/or are in medical distress sometimes use ambulance services to receive necessary care.177 If

those individuals are uninsured or underinsured, the City will provide transport but, for the

reasons explained above, is unlikely to receive reimbursement for the expense.

               Indeed, ambulance services are under extraordinary strain in response to the

pandemic. “COVID-19 cases in the United States are expanding exponentially and already

overwhelming the capabilities of many public safety agencies.”178 Moreover, “[o]vercrowded

hospitals strained by the coronavirus crisis are increasingly asking ambulance services to bring

only critically ill patients to emergency rooms,” and instead “treat[] 911 callers wherever they

were,” which often does not result in reimbursement. That, plus the “rising cost of protective

gear,” has resulted in a “financial squeeze.”179

               Even though Chicago provides certain forms of care to its uninsured and

underinsured residents, Chicago is concerned that those residents may be less likely to obtain

necessary testing and treatment for the novel coronavirus. In the City’s experience, uninsured

and underinsured individuals are more likely to skip or postpone needed care due to cost.180

               If residents do not obtain testing and treatment, the novel coronavirus will

necessarily continue to spread.



177
    See Mark Guarino, This Hospital Was Built for A Pandemic, Wash. Post (Apr. 9, 2020),
https://www.washingtonpost.com/health/2020/04/09/rush-hospital-coronavirus/.
178
    Emily Pearce, EMS Surge Capacity: Where to Find More Caregivers for COVID-19
Response, EMS1.com (Mar. 22, 2020), https://www.ems1.com/coronavirus-covid-
19/articles/ems-surge-capacity-where-to-find-more-caregivers-for-covid-19-response-
Y5M0LvliaDYE3ymh/.
179
    Sarah Krouse, Hospitals’ Covid-19 Surge Puts EMS Providers in Financial Squeeze, Wall St.
J. (May 6, 2020), https://www.wsj.com/articles/hospitals-covid-19-surge-puts-ems-providers-in-
financial-squeeze-11588766657.
180
    See, e.g., The Chicago Health Care Access Puzzle, City of Chicago 8 (Nov. 2008),
https://www.chicago.gov/dam/city/depts/cdph/policy_planning/PP_ChgoHealthCareAccessRpt-
1-.pdf.

                                                   53
         Case 1:20-cv-01566-TJK Document 1 Filed 06/15/20 Page 56 of 60




               As of June 9, 2020, Chicago has distributed over 7 million pieces of personal

protective equipment, including over 4 million gloves and over 3 million masks.181

               Overall impact on the City

               The pandemic has had effects across all of Chicago’s programs. Many City

agencies and programs are closed or only offering telephonic services as a result of the pandemic

and have had to redirect their personnel and resources and adjust their operations in response.

For example, Chicago’s clinics that provide vaccinations and treat sexually transmitted infections

have been closed since mid-March, and the staff at those clinics diverted to Chicago’s pandemic

response. Some City employees have also contracted the novel coronavirus, making it harder for

the City to operate effectively.

               Chicago expects to face a budget shortfall of at least $700 million, in part as a

result of the pandemic.182 That “conservative” figure “depend[s] on how long it takes for

consumers to regain confidence and whether coronavirus cases surge again.”183 Specifically,

Chicago faces hundreds of millions of dollars in lost revenue.184 At the same time, Chicago is

facing extraordinary strain on its health, emergency response, and other services.185



181
    Health Care Workers, City of Chicago, https://www.chicago.gov/city/en/sites/health-care-
workers/home.html (last updated May 8, 2020).
182
    Gregory Pratt & John Byrne, Mayor Lori Lightfoot: Chicago’s Coronavirus Budget Shortfall
at Least $700 Million, Chicago Trib. (June 9, 2020), https://www.chicagotribune.com/politics/ct-
coronavirus-chicago-budget-shortfall-lori-lightfoot-20200609-d6pb4n7drje6xfe4tzaioesrgu-
story.html.
183
    Fran Spielman, Estimated 2020 Budget Shortfall Is $700 Million, Says Mayor, Who Won’t
Rule Out Property Tax Increase, Chicago Sun-Times (June 9, 2020),
https://chicago.suntimes.com/city-hall/2020/6/9/21285650/chicago-city-budget-shortfall-700-
million-coronavirus-federal-help-lightfoot.
184
    Id.
185
    Becky Vevea, How COVID-19 Could Hit Chicago’s Budget, NPR (May 8, 2020),
https://www.npr.org/local/309/2020/05/08/852760731/how-c-o-v-i-d-19-could-hit-chicago-s-
budget.

                                                54
          Case 1:20-cv-01566-TJK Document 1 Filed 06/15/20 Page 57 of 60




               Aside from these budgetary impacts, Chicago is harmed as a whole when its

residents feel they cannot obtain necessary medical care, especially when an effective response

to the novel coronavirus requires that residents be able to seek testing and treatment. Multiple

studies have shown that “in areas with many uninsured people, the quality of care was lower as

well,” in part because “it is difficult for health providers to maintain services in areas with large

numbers of patients who cannot pay for care.”186 More broadly, “[f]or the communities in which

uninsured individuals and families live, the lack or loss of health insurance coverage by some

may undermine the shared economic and social foundations of the entire community.”187 The

more uninsured individuals that do not seek care, the more the novel coronavirus will spread,

further harming the City, its budget, its economy, and its overall well-being.

               Chicago has begun to partially reopen; however, it is not clear whether Chicago,

or other cities, will need to impose restrictions again in the face of another wave of the novel

coronavirus.

               Each of these harms would be redressed by setting aside Defendants’ unlawful

decision not to provide a special enrollment period, thereby providing uninsured individuals with

the ability to obtain coverage.

               The coverage date for any SEP should be retroactive, either to the beginning of

the pandemic or to a certain number of days prior to the opening of such an SEP, to allow

individuals to enroll who were unable to do so because of Defendants’ unlawful failure to open

an SEP.



186
    Julie Rovner, Millions More Uninsured Could Impact Health of Those With Insurance, Too,
Kaiser Health News (July 14, 2018), https://khn.org/news/millions-more-uninsured-could-
impact-health-of-those-with-insurance-too/.
187
    IOM Shared Destiny at 120.

                                                  55
          Case 1:20-cv-01566-TJK Document 1 Filed 06/15/20 Page 58 of 60




                                     CLAIMS FOR RELIEF

                                        Count One
 (Violation of the Administrative Procedure Act – Contrary to Law, 5 U.S.C. § 706(2), the
   Patient Protection and Affordable Care Act, 42 U.S.C. § 18031, and its implementing
                             regulations, 45 C.F.R. § 155.420)

                Plaintiff repeats and incorporates by reference each of the foregoing allegations as

if fully set forth herein.

                Under the Administrative Procedure Act, a “reviewing court shall … hold

unlawful and set aside agency action … found to be … arbitrary, capricious, an abuse of

discretion, or otherwise not in accordance with law.” Id. § 706(2)(A).

                Defendants’ decision that the novel coronavirus does not present an “exceptional

circumstance” warranting a special enrollment period, and/or their refusal to provide a special

enrollment period, is contrary to law.

                Defendants’ decision that “exceptional circumstances” refers only to

circumstances that prevent individuals from enrolling in ACA-compliant health insurance when

they would otherwise be permitted to enroll is contrary to law.

                                          Count Two
         (Violation of the Administrative Procedure Act – Arbitrary and Capricious,
                                      5 U.S.C. § 706(2))

                Plaintiff repeats and incorporates by reference each of the foregoing allegations as

if fully set forth herein.

                Defendants’ failure to publicly explain the basis for their decision that the novel

coronavirus does not present an “exceptional circumstance” warranting a special enrollment

period, and/or their refusal to provide a special enrollment period, is arbitrary and capricious.

                Defendants’ decision that the novel coronavirus does not present an “exceptional

circumstance” warranting a special enrollment period, and/or their refusal to provide a special


                                                 56
          Case 1:20-cv-01566-TJK Document 1 Filed 06/15/20 Page 59 of 60




enrollment period, “relied on factors which Congress has not intended [them] to consider,

entirely failed to consider an important aspect of the problem, [and] offered an explanation for

[their] decision that runs counter to the evidence before [them]” and that “is so implausible that

[the decision] could not be ascribed to a difference in view or the product of agency expertise.”

Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43

(1983). It is therefore arbitrary and capricious.

                                        Count Three
       (Violation of the Administrative Procedure Act – Action Unlawfully Withheld,
                                      5 U.S.C. § 706(1))

                 Plaintiff repeats and incorporates by reference each of the foregoing allegations as

if fully set forth herein.

                 Under the Administrative Procedure Act, a “reviewing court shall … compel

agency action unlawfully withheld or unreasonably delayed.” 5 U.S.C. § 706(1).

                 Defendants are obligated to “provide for ... special enrollment periods … similar

to such periods under [Medicare Part D],” 42 U.S.C. § 18031(c)(6), including in response to

“exceptional circumstances,” 42 U.S.C. § 1395w-101(b)(3)(C); 45 C.F.R. §§ 155.420(a)(1), (d),

155.420(a)(3).

                 By refusing to provide a special enrollment period in response to the novel

coronavirus, Defendants have unlawfully withheld or unreasonably delayed agency action.

                                     REQUEST FOR RELIEF

WHEREFORE, Plaintiff requests that this Court:

                 declare that Defendants’ decision not to provide a special enrollment period is

unlawful;

                 vacate and set aside Defendants’ decision;

                 enjoin Defendants to provide a special enrollment period;

                                                    57
       Case 1:20-cv-01566-TJK Document 1 Filed 06/15/20 Page 60 of 60




             award Plaintiff its costs, attorneys’ fees, and other disbursements for this action;

and

             grant any other relief this Court deems appropriate.

Dated: June 15, 2020                                Respectfully submitted,


                                                    /s/ John T. Lewis
                                                    John T. Lewis (D.C. Bar No. 1033826)
                                                    Robin F. Thurston (D.C. Bar No. 1531399)
                                                    Benjamin Seel (D.C. Bar No. 1035286)
                                                    Sean A. Lev (D.C. Bar No. 449936)
                                                    Democracy Forward Foundation
                                                    1333 H Street NW
                                                    Washington, DC 20005
                                                    (202) 448-9090
                                                    jlewis@democracyforward.org
                                                    rthurston@democracyforward.org
                                                    bseel@democracyforward.org
                                                    slev@democracyforward.org

                                                    Mark A. Flessner
                                                    Stephen J. Kane
                                                    Rebecca Hirsch
                                                    Affirmative Litigation Division
                                                    City of Chicago Department of Law
                                                    121 N. LaSalle St., Room 600
                                                    Chicago, IL 60602
                                                    mark.flessner@cityofchicago.org
                                                    stephen.kane@cityofchicago.org
                                                    rebecca.hirsch2@cityofchicago.org

                                                    Counsel for Plaintiff




                                               58
